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                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


IN RE: BANK OF AMERICA                           Case No. 3:23-cv-00422-MOC-DCK
UNAUTHORIZED ACCOUNT OPENING
LITIGATION                                       CONSOLIDATED CLASS ACTION
                                                 COMPLAINT

                                                 DEMAND FOR JURY TRIAL




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        Plaintiffs Gwenevere Alexander-Tell, Octavio Ayala, Nadine Ballard, Joseph Barlay,

Andrew Beal, David Conaway, Miedo Donque, Benjamin Cox, Brigette Newby, Marvell

Pamilton, Chad Powe, Cristel Rothwell, Robert Schak, and Jermaine Willis (collectively,

“Plaintiffs”), individually and on behalf of all others similarly situated, file this Consolidated Class

Action Complaint against Defendant Bank of America, N.A. ( “BoA” or the “Bank”). In support

thereof, Plaintiffs state as follows:

                                    I.       INTRODUCTION

        1.      For more than a decade, Bank of America opened accounts in the names of

thousands of consumers who did not authorize the opening of those accounts. Those accounts were

opened by Bank of America employees or its agents who were motivated by pressure and

incentives from management to increase the number of Bank of America accounts. Consumers

were often unaware of account openings until reviewing credit reports. But opening accounts has

an impact on consumers, affecting their credit reports, imposing fees, and raising legitimate

concerns about the safety of the personal information Bank of America is supposed to protect. This

action seeks to make consumers whole for harm suffered as a result of Bank of America’s actions.

        2.      On July 11, 2023, the Consumer Financial Protection Bureau (“CFPB”) issued a

stipulated consent order (“Consent Order”) against BoA for, among other things, (i) obtaining

and/or using consumers’ credit reports (and other sensitive customer information) without a

permissible purpose, and (ii) opening credit cards, debit cards, and other non-credit accounts

(checking and savings accounts, for example) without consumers’ knowledge or consent. See In

the Matter of: Bank of America, N.A., No. 2023-CFPB-0007, Doc. 1 (July 11, 2023).

        3.      The Consent Order made clear that from January 1, 2012 to the present (“Class

Period”), BoA’s illegal account opening practices were motivated by, and directly “in response to

sales pressure” to “obtain incentive awards.” Id. at ¶ 25.

        4.      Importantly, while the Consent Order may remedy some of the harm for a limited

number of BoA customers, it does not come close to providing a remedy for the spectrum of harms


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experienced by Class Members. This action extends beyond the Consent Order, as it concerns both

unauthorized credit accounts and unauthorized checking accounts and seeks to remedy broader

harms. These include, but are not limited to, fees associated with both types of the unauthorized

accounts; damage to consumers’ credit scores as a result of the inclusion of unauthorized accounts

on their credit reports; damage to their credit score from credit report draws; and lost time and

effort spent investigating all unauthorized accounts, reporting issues to BoA, attempting to correct

them, and attempting to mitigate further harm, including harm from potential identity theft, the

loss of control over personal identifying information, and payment for credit monitoring and lock

services.

       5.      Plaintiffs bring this Consolidated Class Action Complaint, alleging violations of

the Fair Credit Reporting Act (“FCRA”), common law theories of Unjust Enrichment, Negligence,

and violations of various state Unfair and Deceptive Trade Practice laws. For purposes of this

Complaint, “Plaintiffs” constitutes two separate classes: (1) Plaintiffs whose credit reports (or

other sensitive customer information) were obtained and/or used by Bank of America or its agents

without a permissible purpose and without their prior knowledge or authorization and/or

individuals who the Bank opened a credit card product in their name without their prior knowledge

or authorization (“Credit Card Class”), and (2) Plaintiffs who had debit cards, checking or savings

accounts, or other non-credit products opened in their name by Bank of America or its agents

without their prior knowledge or authorization (“Accounts Class”). All Plaintiffs seek actual

damages, statutory damages, restitution, declaratory relief, and all other relief as this Court deems

appropriate.

                          II.         JURISDICTION AND VENUE

       6.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 under the

Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq.




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          7.        This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 because the

state law claims form part of the same case or controversy as those that give rise to the federal

claims.

          8.        In addition, this Court has subject matter jurisdiction over the Action pursuant to

the Class Action Fairness Act, 28 U.S.C. § 1332(d), because the amount in controversy exceeds

$5,000,000, exclusive of interest and costs, and at least one Class Member is a citizen of a state

different from Defendant.

          9.        This Court has personal jurisdiction over BoA because BoA maintains its principal

place of business in Charlotte, North Carolina. This Court also has personal jurisdiction over BoA

because the events giving rise to this Action occurred in Charlotte, North Carolina. BoA has

continuous and systematic contacts with the State of North Carolina, availing itself to the laws of

North Carolina.

          10.       Venue is proper in this Court under 28 U.S.C. § 1391, because BoA maintains its

principal place of business in and is subject to personal jurisdiction in this District. Additionally,

the conduct giving rise to the allegations and claims asserted in this Action originated and occurred

in this District.

                                         III.       PARTIES

          A.        Defendant Bank of America, N.A.

          11.       Defendant Bank of America, N.A. is the second largest bank chartered under the

laws of the United States with its principal place of business located at Bank of America Corporate

Center, 100 N. Tryon Street, Charlotte, North Carolina 28255. BoA’s “retail banking footprint

covers all major markets in the U.S.,” and serves “approximately 69 million consumer and small

business clients with approximately 3,800 retail financial centers, approximately 15,000 ATMs,




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and leading digital banking platforms (www.bankofamerica.com) with approximately 46 million

active users, including approximately 38 million active mobile users.”1

       12.     BoA is a subsidiary of Bank of America Corp.2

       B.      Plaintiffs

               1.     Credit Card Class Plaintiffs

       13.     The Credit Card Class Plaintiffs seek to represent the Credit Card Class which is

comprised of individuals whose consumer credit reports or other sensitive consumer information

were obtained and/or used by Bank of America or its agents without a permissible purpose and

without the consumer’s prior knowledge or consent, or individuals who the Bank opened a credit

card product in their name without their prior knowledge or authorization.

       14.     Plaintiff Andrew Beal is a resident of Layton, Utah. To his knowledge, Plaintiff

Beal is not currently—and has never been—a BoA accountholder.

       15.     In or around 2023, Plaintiff Beal received a letter from BoA containing a credit card

registered in his name. Plaintiff Beal promptly contacted BoA to inform them he had not applied

for a credit card account with BoA and requested they either waive the fees associated with the

credit card or close the account. The BoA representatives dismissed Plaintiff Beal’s assertions of

BoA opening an unwanted credit card account in his name as fraud but were unable to produce a

signed document or application for the credit card account from Plaintiff Beal. The BoA

representatives informed Plaintiff Beal they would cancel the credit card account at his request.

       16.     As a result of BoA’s conduct, Plaintiff Beal suffered significant harm, including

but not limited to unwarranted credit card fees, damage to his credit score associated with the

opening and closing of the unauthorized credit card, the loss of control over personal identifying

information, the expenditure of time and resources contending with and investigating the

circumstances of the unauthorized credit card, the expenditure of time and resources monitoring

1
    BoA Form 10-K for Fiscal Year Ended Dec. 31, 2023 (Feb. 20,                              2024),
https://investor.bankofamerica.com/regulatory-and-other-filings/all-sec-filings/content
/0000070858-24-000122/bac-20231231.htm.
2
  Id.
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and assessing for credit issues and fraudulent activity, including but not limited to identity theft,

and the adverse impact on his ability to obtain other credit products.

       17.     Plaintiff Miedo Donque is a resident of Rancho Santa Margarita, California.

Plaintiff Donque has been a BoA customer for 20 years, since approximately 2003 and has held a

checking account, savings account, credit account, and home loan account during that time. He no

longer maintains a credit account or a home loan account with BoA.

       18.     On June 29 and July 19, 2021, Plaintiff Donque received notifications from BoA

that he had a “new e-Bill” with a statement balance of $11.77 for a credit card that Plaintiff Donque

did not open or authorize. Plaintiff Donque promptly contacted BoA to inform BoA that he did not

open, authorize, nor have any knowledge of the unauthorized credit card account. In response,

Plaintiff Donque expected BoA to immediately close the unauthorized account. However, BoA

continued to seek payments from Plaintiff Donque for the unauthorized account. BoA sent Plaintiff

Donque notifications on February 19, 2022, stating that a minimum payment of $25.00 was due,

on May 29, 2022, stating that a total balance of $557.14 was due, and on July 19, 2022, stating

that a minimum payment of $25.00 was due. Plaintiff Donque repeatedly informed BoA that he

did not authorize nor otherwise ever use this unauthorized credit card account. Despite Plaintiff

Donque’s efforts, BoA continually sought payment from him by sending him emails stating that

he had an overdue unpaid balance and requesting that he make minimum payments to pay down

the overdue balance on the unauthorized account through and including July 19, 2022—more than

one year after Plaintiff Donque requested the unauthorized account be closed. Plaintiff Donque

did not receive notice from BoA about its settlement with the CFPB.

       19.     Between July 19, 2022 and August 2022, BoA closed the unauthorized account.

       20.     As a result of BoA’s conduct, Plaintiff Donque suffered significant harm, including

minimum payment charges associated with the unauthorized credit card and interest charges

associated with the unauthorized credit card, damage to his credit score associated with the opening

and closing of the unauthorized credit card, the loss of control over personal identifying


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information, the expenditure of time and resources contending with and investigating the

circumstances of the unauthorized credit card, the expenditure of time and resources monitoring

for credit issues and fraudulent activity, including but not limited to identity theft, and the adverse

impact on his ability to obtain other credit products.

       21.     Plaintiff Robert Schak is a resident of Elk Grove Village, Illinois. Plaintiff was an

accountholder with LaSalle Bank, which was acquired by Bank of America in approximately 2007.

       22.     In or around October 2022, multiple (more than ten) credit card inquiries appeared

on Plaintiff Schak’s credit report. Several BoA credit cards were opened in Plaintiff Schak’s name,

which he did not apply for and which he never received. Those credit cards did, however, appear

on Plaintiff Schak’s credit report. The credit card accounts have been closed. Plaintiff Schak did

not receive notice from BoA about its settlement with the CFPB.

       23.     As a result of BoA’s conduct, Plaintiff Schak suffered significant harm, including

damage to his credit score associated with the opening and closing of the unauthorized credit cards,

the loss of control over personal identifying information, the expenditure of time and resources

contending with and investigating the circumstances of the unauthorized credit cards, the

expenditure of time and resources monitoring and assessing for credit issues and fraudulent

activity, including but not limited to identity theft, and the adverse impact on his ability to obtain

other credit products.

       24.     Plaintiff Nadine Ballard is a resident of Centerville, Ohio. Plaintiff Ballard has

never been a customer of Bank of America.

       25.     On or about March 17, 2023, Plaintiff Ballard received a notification on her credit

monitoring software regarding an unknown inquiry. On April 6, 2023, Plaintiff Ballard received

an email from Bank of America notifying her that a credit card was on its way to her. On April 7,

2023, Plaintiff Ballard received written correspondence along with an Allegiant World Mastercard.

       26.     Plaintiff Ballard contacted Bank of America on April 25, 2023 to notify them of

the fraudulent account opening and on April 25, 2023, Bank of America closed the financial


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account. Plaintiff Ballard was also notified on June 5, 2023 by Allegiant that Allegiant had sent

instructions to the credit reporting agencies for them to delete the March 16, 2023 inquiries made

on Plaintiff Ballard’s credit reports.

        27.     In addition to her direct communications with Bank of America, Plaintiff Ballard

filed two complaints with the CFPB on April 10, 2023 and July 4, 2023. During the course of the

investigation of these Complaints, Plaintiff Ballard learned that Bank of America had opened an

unauthorized credit card account in her name through an application for an Allegiant Vacation,

LLC World Mastercard that was submitted without Plaintiff Ballard’s knowledge or consent on or

about March 16, 2023.

        28.     Due to the unauthorized credit card being opened by BoA, Plaintiff Ballard has

spent substantial time to correct her credit report as well as to lodge complaints with the appropriate

government agencies, including the CFPB.

        29.     As a result of BoA’s conduct, Plaintiff Ballard suffered significant harm, including

damage to her credit score associated with the opening and closing of the unauthorized credit card,

the loss of control over personal identifying information, the expenditure of time and resources

contending with and investigating the circumstances of the unauthorized credit card, the

expenditure of time and resources monitoring and assessing for credit issues and fraudulent

activity, including but not limited to identity theft, and the adverse impact on her ability to obtain

other credit products.

        30.     Plaintiff Octavio Ayala is a resident of Las Vegas, Nevada. Plaintiff Ayala is not

currently—and has never been—a BoA accountholder.

        31.     In or around 2019, BoA denied Plaintiff Ayala’s application to open a checking

account. Upon investigating the matter, Plaintiff Ayala discovered that an unauthorized BoA credit

card account had been opened in his name and that such unauthorized account had been the reason

for his application’s denial.




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       32.       Upon further investigation and after filing complaints with the CFPB, Plaintiff

Ayala discovered that BoA had mailed the unauthorized credit card to a PO Box in violation of

federal law and regulation.

       33.       Plaintiff Ayala was charged fees and interest for the unauthorized credit card

account’s delinquent status.

       34.       On or around August 9, 2024, at Plaintiff Ayala’s behest and after being notified of

Plaintiff Ayala’s complaints with the CFPB, BoA closed the unauthorized credit card account

and—to Plaintiff Ayala’s surprise—other unauthorized BoA accounts that Plaintiff Ayala was

unaware of and never authorized.

       35.       As a result of BoA’s conduct, Plaintiff Ayala suffered significant harm, including

damage to his credit score associated with the opening and closing of the unauthorized credit card,

the loss of control over personal identifying information, the expenditure of time and resources

contending with and investigating the circumstances of the unauthorized credit card, the

expenditure of time and resources monitoring and assessing for credit issues fraudulent activity,

including but not limited to identity theft, and the adverse impact on his ability to obtain other

credit products.

                 2.     Accounts Class Plaintiffs

       36.       The Accounts Class Plaintiffs seek to represent the Accounts Class which is

comprised of individuals who had debit cards, checking or savings accounts, or other non-credit

products opened in their name by Bank of America or its agents without their prior knowledge or

authorization.

       37.       Plaintiff Jermaine Willis is a resident of Rancho Cucamonga, California. Plaintiff

Willis has been a client of Bank of America on and off since approximately 2006.

       38.       In 2018, Plaintiff Willis closed a checking account that he had with BoA. In 2022,

Plaintiff Willis learned of an unauthorized opening of a checking account in his name at BoA.

Plaintiff Willis believes that the unauthorized account was opened in or about 2021. When Plaintiff


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Willis learned of the unauthorized account in 2022, the account already had a negative balance as

a result of the imposition of nonsufficient funds (“NSF”) fees for failure to maintain minimum

account balances.

       39.     As a result of BoA’s conduct, Plaintiff Willis suffered significant harm, including

fees for failure to maintain a minimum account balance, damage to his credit score associated with

the opening and closing of the unauthorized credit card, the loss of control over personal

identifying information, the expenditure of time and effort contending with and investigating the

circumstances of the unauthorized credit card, the expenditure of time and resources monitoring

and assessing for credit issues and fraudulent activity, including but not limited to identity theft,

and the adverse impact on his ability to obtain other credit products.

       40.     Plaintiff Cristel Rothwell is a resident of Jacksonville, Florida. Plaintiff Rothwell

is not currently a BoA customer. Plaintiff Rothwell previously had a checking account that she

closed in 1999.

       41.     In 2022, Plaintiff Rothwell received notice of the unauthorized opening of a

checking account in her name at BoA. Plaintiff Rothwell learned of the unauthorized account after

receiving an email from BoA thanking her for opening and changing the email associated with the

account. Plaintiff Rothwell did not authorize the opening of this checking account. Plaintiff

Rothwell believes that the unauthorized account was opened in or about August 2022.

       42.     When Plaintiff Rothwell learned of the unauthorized account in 2022, she notified

Bank of America and requested closure of the unauthorized account. Plaintiff Rothwell spent

around five (5) hours total speaking to BoA representatives over the phone and filing a police

report to close the unauthorized account. Plaintiff Rothwell also spent approximately $30.00 to

send requested materials to the BoA Fraud Department to prove that the account was fraudulent.

       43.     BoA conceded in 2022 that Plaintiff Rothwell did not open the account. In

December of 2022, the unauthorized account was closed.




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       44.     As a result of BoA’s conduct, Plaintiff Rothwell suffered significant harm,

including damage to her credit score associated with the opening and closing of the unauthorized

account, the loss of control over personal identifying information, the expenditure of time and

resources contending with and investigating the circumstances of the unauthorized account, the

expenditure of time and resources monitoring and assessing for credit issues and fraudulent

activity, including but not limited to identity theft, and the adverse impact on her ability to obtain

other credit products.

       45.     Plaintiff Chad Powe is a resident of Loganville, Georgia. Plaintiff Powe has had a

checking account with BoA since approximately 2021. Previously, Plaintiff Powe had a checking

account with BoA between approximately 2000 and 2005.

       46.     In approximately May or June of 2020, Plaintiff Powe learned of a checking

account opened in his name, that he did not authorize. He learned of the unauthorized checking by

checking his Norton 360 credit monitoring account. Plaintiff Powe learned that the account had a

negative balance resulting from the imposition of account fees (“NSF”) charges as a result of

failing to meet minimum account balance requirements. Plaintiff Powe personally visited a BoA

branch office to close the unauthorized account, after which representatives of BoA acknowledged

that the account appeared to be fraudulent.

       47.     Plaintiff Powe believes and is informed that the unauthorized checking account

appears on his credit report and that he has sustained damage as a result of the unauthorized

checking account and resulting negative balance in this unauthorized checking account.

       48.     As a result of BoA’s conduct, Plaintiff Powe suffered significant harm, including

damages from minimum balance fee charges, being denied the ability to open either checking or

savings accounts at several institutions, including USAA, Truist Bank, and Regions Bank, damage

to his credit score associated with the opening and closing of the unauthorized account, the loss of

control over personal identifying information, the expenditure of time and resources contending

with and investigating the circumstances of the unauthorized account, the expenditure of time and


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resources monitoring and assessing for credit issues and fraudulent activity, including but not

limited to identity theft, and the adverse impact on his ability to obtain other credit products.

       49.     Plaintiff Gwenevere Alexander-Tell is a resident of Mounds View, Minnesota.

Plaintiff Alexander-Tell is not currently a customer, and has never been a customer, of Bank of

America.

       50.     On May 8, 2022, Plaintiff Alexander-Tell learned of the unauthorized opening of a

checking account in her name at BoA. Plaintiff Alexander-Tell received an email from BoA that

a deposit account was opened in her name. As soon as Plaintiff Alexander-Tell learned of the

unauthorized account in May 2022, she immediately requested the closure of the account.

       51.     BoA conceded on October 25, 2022 that Plaintiff Alexander-Tell did not open the

account. On October 25, 2022, BoA closed the unauthorized account.

       52.     In or around Mach 2023, Plaintiff Alexander-Tell filed a complaint against BoA

with the CFPB.

       53.     As a result of BoA’s conduct, Plaintiff Alexander-Tell suffered significant harm,

including damage to her credit score associated with the opening and closing of the unauthorized

account, the loss of control over personal identifying information, the expenditure of time and

effort contending with and investigating the circumstances of the unauthorized account, the cost,

including the expenditure of time and effort, of monitoring and assessing for fraudulent activity,

and the adverse impact on her ability to obtain other credit products.

       54.     Plaintiff Joseph Barlay is a resident of Somerset, New Jersey. Upon information

and belief, Plaintiff Barlay has been a checking and savings account customer of BoA since 2008.

       55.     On April 1, 2023, Plaintiff Barlay learned of the unauthorized opening of a

checking account in his name at Bank of America. Plaintiff Barlay believes that the unauthorized

account was opened in or about 2023. When Plaintiff Barlay learned of the unauthorized account

in 2023, he requested that Bank of America close the unauthorized account. Plaintiff Barlay spent




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several hours over the course of four (4) months speaking to BoA representatives over the phone

to try to close the account.

          56.    Defendant conceded on August 14, 2023 that Plaintiff Barlay did not open the

account. BoA closed the unauthorized account on that day.

          57.    As a result of BoA’s conduct, Plaintiff Barlay suffered significant harm, including

damage to his credit score associated with the opening and closing of the unauthorized account,

the loss of control over personal identifying information, the expenditure of time and resources

contending with and investigating the circumstances of the unauthorized account, the expenditure

of time and resources monitoring and assessing for credit issues and fraudulent activity, including

but not limited to identity theft, and the adverse impact on his ability to obtain other credit products.

          58.    Plaintiff Marvell Pamilton is a resident of Las Vegas, Nevada. Plaintiff Pamilton

was a BoA client, having had until August 2024 two checking accounts and one savings account

with the Bank.

          59.    On or around August 2024, Plaintiff Pamilton sought to open a new BoA account

and was declined by BoA and informed that one of his accounts reflected an owed balance of

$1,600.

          60.    Upon reviewing his credit report shortly thereafter, Plaintiff Pamilton discovered

that the report disclosed six BoA accounts, three of which he did not recognize and never

authorized. These three unauthorized accounts were checking and savings accounts reportedly

opened in 2018 and 2019.

          61.    Plaintiff Pamilton believes and is informed that BoA closed the unauthorized

accounts along with his three legitimate accounts on or around August 2024.

          62.    Also around this time, U.S. Bank informed Plaintiff Pamilton that ChexSystems

had flagged issues that suggested he posed risks to the bank and that the bank would proceed to

close the checking and savings accounts Plaintiff Pamilton had with the bank.




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       63.     As a result of BoA’s conduct, Plaintiff Pamilton suffered significant harm,

including damage to his credit score associated with the opening and closing of the unauthorized

account, the loss of control over personal identifying information, the expenditure of time and

resources contending with and investigating the circumstances of the unauthorized account, the

expenditure of time and resources monitoring and assessing for credit issues and fraudulent

activity, including but not limited to identity theft, and the adverse impact on his ability to obtain

other credit products.

       64.     Plaintiff Brigette Newby is a resident of Benton, New Hampshire. Plaintiff Newby

is a former BoA client, having had a joint checking account with the Bank between 2001 and 2005.

       65.     On or around August 2022, a local bank denied Plaintiff Newby’s application for

the opening of an account after ChexSystems flagged her application. Upon investigating the

matter, Plaintiff Newby discovered that the flag was connected to two BoA personal loans which

had been opened without her consent. By the time she discovered the accounts’ existence, one of

them reflected a negative balance of $2,524.

       66.     These accounts were tied to an address in California that Plaintiff Newby did not

recognize and which she never previously occupied.

       67.     Plaintiff Newby was charged fees for holding a negative account balance.

       68.     Promptly after learning about the unauthorized accounts’ existence and following

a day’s worth of effort on the phone with BoA, Plaintiff Newby was transferred to the right

department and was finally able to close the unauthorized personal loan accounts. BoA sent her an

email confirming the closures.

       69.     In discussions with BoA, Plaintiff Newby discovered that the unauthorized

personal loan accounts were opened in March 2022.

       70.     Plaintiff Newby believes and is informed that the unauthorized personal loan

accounts appear on her credit report and that she has sustained damage as a result of the

unauthorized accounts and the negative balance associated with those accounts.


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        71.     As a result of BoA’s conduct, Plaintiff Newby suffered significant harm, including

damages from fees associated with the unauthorized accounts and from having a negative account

balance, damage to her credit score associated with the opening and closing of the unauthorized

accounts, the loss of control over personal identifying information, the expenditure of time and

resources contending with and investigating the circumstances of the unauthorized accounts, the

expenditure of time and resources monitoring and assessing for credit issues and fraudulent

activity, including but not limited to identity theft, and the adverse impact on her ability to obtain

other credit products.

        72.     Plaintiff Benjamin Cox is a resident of Kinston, North Carolina. Plaintiff Cox

previously had a savings account with Bank of America that he closed in 2020.

        73.     In or about 2019, Plaintiff Cox was made aware of a checking account opened in

his name at BoA. When he learned of the unauthorized checking account, it already had a negative

balance as a result of fees assessed by BoA as a result of not meeting minimum account balance

requirements. Plaintiff Cox was charged fees for holding a negative account balance. Plaintiff Cox

attempted to close the unauthorized account online, but was told that he could only do so at a BoA

branch. Thereafter, Plaintiff Cox went to a BoA branch and closed the unauthorized account.

        74.     Plaintiff Cox believes and is informed that the unauthorized checking account

appears on his credit report and that he has sustained damage as a result of the unauthorized

checking account and resulting negative balance in this unauthorized checking account.

        75.     As a result of BoA’s conduct, Plaintiff Cox suffered significant harm, including

damage to his credit score associated with the opening and closing of the unauthorized account,

the loss of control over personal identifying information, the expenditure of time and resources

contending with and investigating the circumstances of the unauthorized account, the expenditure

of time and resources monitoring and assessing for credit issues and fraudulent activity, including

but not limited to identity theft, and the adverse impact on his ability to obtain other credit products.




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       76.     Plaintiff David Conaway is a resident of Williamsburg, Virginia. Plaintiff

Conaway has been a customer of BoA since around 2007 when he first opened checking and

savings accounts. Since that time, he has also opened a credit card with BoA. In or around 2018,

Plaintiff Conaway opened a business account with BoA. These accounts remain open.

       77.     On September 6, 2022, Plaintiff Conaway became aware that BoA had opened an

unauthorized checking account in his name after he received an email stating that his application

had been approved and he had a new account opened. When Plaintiff Conaway logged into his

BoA online banking portal, he could see that a new account had been opened in his name and

without his authorization or consent. Plaintiff Conaway immediately contacted BoA upon seeing

this new account displayed on his online banking portal. Plaintiff Conaway was initially told that

he was likely a victim of fraud, but another representative later told him that BoA was the victim

of a data breach. Plaintiff Conaway was assured that the account was “locked” and no money could

be transferred in or out. After talking with BoA representatives, Plaintiff Conaway attempted to

transfer money into and out of the new checking account to ensure that it was “locked” as he had

been advised. Upon doing so, Plaintiff Conaway discovered that the transfers were successful –

meaning that the account was not locked.

       78.     Plaintiff Conaway made at least five phone calls to BoA and traveled to the nearest

BoA branch to speak with a manager about the checking account. It took about two weeks for BoA

to finally close the account.

       79.     Plaintiff Conaway was originally told by a BoA representative that he was a victim

of fraud. Another BoA representative told him that BoA had suffered a data breach. This

misinformation prevented Plaintiff Conaway from taking action that may have resolved his

predicament sooner.

       80.     As a result of BoA’s conduct, Plaintiff Conaway suffered significant harm,

including damage to his credit score associated with the opening and closing of the unauthorized

account, the loss of control over personal identifying information, the expenditure of time and


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resources contending with and investigating the circumstances of the unauthorized account, the

expenditure of time and resources monitoring and assessing for credit issues and fraudulent

activity, including but not limited to identity theft, and the adverse impact on his ability to obtain

other credit products.

                           IV.        FACTUAL BACKGROUND
         A.    The Government’s Investigation Uncovers the Motivation
               Behind Bank of America’s Illegal Account Opening Practices
               and Problematic Incentive Program

         81.   On July 11, 2023, the CFPB issued a stipulated Consent Order against BoA for,

among other things, (i) obtaining and/or using consumers’ credit reports (and other sensitive

customer information) without a permissible purpose, and (ii) opening credit cards, debit cards,

and other non-credit accounts (checking and savings accounts, for example) without consumers’

knowledge or consent. According to the Government, the Bank’s illegal account opening practices

derive from a problematic incentive program the Bank implemented.

         82.   Beginning in 2012, BoA implemented a sales incentive program that tied

compensation for its management and employees to the number of new banking products or

services that were opened or used by the consumer, rewarding them when they met sales goals for

opening new accounts. In simpler terms, the more accounts that BoA staff opened, the more they

were paid.

         83.   In addition to compensation, the sales metrics were also used to evaluate

employees’ overall performance and assess whether disciplinary actions were needed. Sales

metrics were even considered when making scheduling determinations. BoA held weekly meetings

where sales quotas were reviewed and employees would be scrutinized for not meeting their sales

goals.

         84.   BoA’s sales targets and compensation incentives created high-pressure sales

expectations, which led employees to go to great lengths to achieve their targets. This included

illegally opening accounts without Plaintiffs’ and Class Members’ knowledge or consent,


                             CONSOLIDATED CLASS ACTION COMPLAINT
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burdening Plaintiffs and Class Members with needless debt and fees. At the same time, BoA’s

executives were rewarded for reaching sales metrics.

       85.     BoA financial center employees were evaluated for performance and incentive

compensation based in part on the number of new credit card accounts that were opened and used

by consumers (see Consent Order ¶ 25). Lower-level execs put tremendous pressure on sales

personnel to sell the credit cards, and that “[w]orkers who failed to meet what they viewed as

unrealistic sales goals were often disciplined or denied promotions.”3 One branch manager said

that “he was sold on the job largely on the prospect of substantial bonuses that were tied to meeting

sales numbers.”4 Finally, a BoA “regional executive whose territory covered Oregon and much of

Washington state” was tasked with boosting the low ranking of that region in an internal BoA

scorecard, where an “improved ranking would have resulted in higher pay for Disanto [that

executive] and other executives in the region . . . The internal scorecard was based partly on

customer service and compliance, but sales performance was weighted most heavily.”5

       86.     A 2016 report published by the National Employment Law Project, an advocacy

group for low-wage workers, detailed how the aggressive sales metrics at BoA and other banks

created an environment where workers were encouraged to open new accounts regardless of what

the customer wanted. One BoA employee worker recalled, “Managers really pushed me to ignore

it when consumers say no.”6 Another Florida BoA employee described the pressure of not making

a sale: “I had days that even though I tried really hard, I couldn’t sell, and that’s very scary. It’s

not a financial service position, it’s a sales position. And that means it’s not about the customer.”7

Further, employees described how sales metrics are tied to employee scheduling, “in which the

3
  Kevin Wack, Ex-Bank of America employees allege ‘extreme pressure’ to sell credit cards,
AMERICAN BANKER (Aug. 27, 2020), https://www.americanbanker.com/news/ex-bank-of-
america-employees-allege-extreme-pressure-to-sell-credit-cards.
4
  Id.
5
  Id.
6
  Anastasia Christman, Banking on the Hard Sell: Low Wages and Aggressive Sales Metrics Put
Bank Workers and Customers at Risk, NATIONAL EMPLOYMENT LAW PROJECT (June 2016),
https://www.nelp.org/app/uploads/2016/06/NELP-Report-Banking-on-the-Hard-Sell.pdf.
7
  Id.
                             CONSOLIDATED CLASS ACTION COMPLAINT
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most convenient or desirable work shifts were allocated after workers submit ‘bids’ based on their

quota incentive points.”8

       87.     Other former BoA employees have described an environment where workers who

failed to meet sales goals were “disciplined or denied promotions.”9 One former Oregon-based

branch manager of BoA stated that “meeting sales numbers was literally all that mattered in his

experience with Bank of America.”10 He further stated that when he joined BoA in 2019,

substantial bonuses were tied to meeting sales numbers. He stated that he was instructed to “take

disciplinary action” against employees not meeting their sales goals. Regarding the sales pressure

from BoA, the former BoA branch manager stated: “They ride their good people hard and abuse

their poor performers. . . . They want you to push credit cards to everyone.”11 According to a 2019

document reviewed by American Banker, for example, BoA’s customer forms “lack[] an option

for customers who simply do not want a [credit] card.”12

       88.     Under pressure to meet the quotas, BoA employees were driven to submit

applications and open bank accounts without Plaintiffs’ and Class Members’ authorization or

consent. Despite BoA’s knowledge of the unlawful practices by its employees, it did little, if

anything, to terminate the practices, nor to reform the sales incentive program.

       89.     In July 2023, the CFPB and the Office of the Comptroller of the Currency (“OCC”)

levied fines and penalties against BoA. The CFPB ordered BoA to pay over $30 million in civil

penalties relating to its practice of opening unauthorized accounts and pay redress to consumers.13

The CFPB’s Consent Order sets forth that BoA opened accounts without authorization “in

response to sales pressure to obtain incentive rewards” (see Consent Order ¶ 26). Further, the

Consent Order described harm to consumers from opening unauthorized accounts, including that


8
  Id.
9
  Wack, supra note 3.
10
   Id.
11
   Id.
12
   Id.
13
   See Consent Order ¶ 59.
                             CONSOLIDATED CLASS ACTION COMPLAINT
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such accounts “may have negatively impacted consumers including through fees charged; impacts

to consumer credit profiles; the loss of control over personal identifying information; the

expenditure of consumer time and effort investigating the facts and seeking closure of unwanted

accounts; and the need to monitor and mitigate harm going forward.” (See Consent Order ¶ 30.)

       B.      BoA’s Faulty Account Opening Practices

       90.     Although BoA devised a lucrative sales incentive program to encourage its

employees to open numerous accounts per customer, it failed to maintain sufficient controls and

safeguards related to account openings to ensure that only accounts which were actually authorized

by its customers were opened.
               a.      Failure to Adequately Verify Customer Identities Before
                       Opening Accounts
       91.     In the normal course, a consumer opening a credit, debit, or savings account would

submit an application, providing personally identifiable information. For a credit account, a

consumer must also agree that the lender run a credit report. And a myriad of regulations intended

to safeguard consumers, and deter bad actors, from opening fake accounts establish procedures for

how this is to be accomplished. Remarkably, BoA wholly failed to comply with these processes,

which provide consumers with fair notice about financial commitments, rates, fees, all of which

are intended to protect consumers. To be clear, this complaint does not seek to enforce those

regulations; that is the domain of regulators. Rather, this action seeks to redress consumers for the
harm that opening these accounts caused.

       92.     BoA’s customers reasonably expected BoA to maintain controls and procedures for

opening banking accounts, including verifying the identity of an account opener and sending

notices to customers prior to, if not also immediately after, opening an account. The reason for this

is plain: customers need to consent to the financial obligations opening an account imposes.

       93.     But BoA failed to adequately verify a potential customer’s identity before opening

an account. Further, BoA’s procedures allowed its employees to access Plaintiffs’ and Class

Members’ personal information to open accounts without their consent and without providing

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adequate notice. BoA should have closely monitored and limited employee-access to Plaintiffs’

and Class Members’ personal information, such that unauthorized accounts would have been

flagged. BoA has acknowledged to the CFPB, for example, that before March 2017, it did not

require customers who opened accounts in its branches to provide signatures that could have

served as clear evidence of the customers’ intent.14 If BoA had implemented proper controls over

Plaintiffs’ and Class Members’ personal information, its employees would not have been able to

continue creating accounts except where customers had provided express authorization.

         94.    Further, it was reasonable for customers to expect that BoA had procedures in place

for verifying the identity of the customer within a reasonable time after an account was opened,

such as by contacting the customer or obtaining verifying documents. The reason for this is also

plain: customers need to understand the purpose and necessity of the identity verification process.

         95.    BoA similarly avoided or failed to monitor and enforce procedures for verifying

customers’ identities and providing adequate notice after unauthorized accounts were opened

because doing so would have alerted customers of the unauthorized accounts.
         C.     Failure to Obtain Consent to Run a Credit Report or to Open a
                Credit Card Account
         96.    As part of this unlawful practice, BoA employees improperly obtained “consumer

credit reports,” as that term is defined in 15 U.S.C. § 1681a(d)(1), to open credit card accounts,

even when the customer had not applied for or did not want one. Upon information and belief,
BoA obtains consumer reports via a consumer reporting agency governed by the federal Fair Credit

Reporting Act (“FCRA”). BoA did not have Plaintiffs’ and Credit Card Class Members’

permission to access their personal information, nor did it have a permissible purpose for obtaining

their consumer credit reports.




14
     Wack, supra note 3.
                             CONSOLIDATED CLASS ACTION COMPLAINT
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               a.      Failure to Perform Reasonable Diligence to Detect
                       Unauthorized Accounts
        97.    BoA customers reasonably expected the Bank to exercise due and reasonable

diligence in regard to the opening and maintenance of every account, knowing and retaining the

essential facts concerning every customer and concerning the authority of each person acting on

behalf of such customer, and establishing and maintaining written policies and procedures that are

reasonably designed to identify and verify the identity of customers.

        98.    BoA failed to exercise adequate diligence. If the Bank had, it would have been

alerted to the unusual activities such as numerous unfunded accounts, frequent reopening of closed

accounts, and/or consumer accounts in which the only activities were fees charged by BoA.

        99.    BoA’s failure to monitor and prevent such conduct, including its reliance on its

high-pressure incentive programs that led to unauthorized account opening, is particularly

egregious considering that another prominent bank, Wells Fargo, faced stiff penalties for similar

practices. There, Wells Fargo entered into a series of settlements with the regulators and consumers

totaling $3.7 billion related to its conduct of opening unauthorized accounts.15

        100.   Moreover, BoA knew or should have known of the issue of unauthorized accounts

being opened without consumers’ knowledge and consent given the numerous consumer reports

filed by consumers with the CFPB. According to the CFPB’s complaint database, over 70,000

consumer complaints have been filed against Bank of America for issues pertaining to banking
products and credit reports from January 1, 2012 through December 31, 2022.16

        101.   Yet, rather than investigate this issue and put in place adequate controls following

this news, BoA ignored the issue and insisted that it did not have any “systemic sales misconduct”

issues.17

15
   Francie Swidler, You May Be Eligible For a Payout After $3.7B Wells Fargo Settlement Alleges
‘Illegal’ Practices, NBC CHICAGO (Jan. 20, 2023), https://www.nbcchicago.com/news/local/you-
may-be-eligible-for-a-payout-after-3-7b-wells-fargo-settlement-alleges-illegal-practices/3050504
16
   See supra § IV.E (listing a few of these complaints).
17
   In the Matter of Bank of America Corp., No. 2019-MISC-Bank of America Corp.-0001, BoA
Petition to Set Aside or, In the Alternative, Modify the Civil Investigative Demand, at 1 (Mar. 28,

                             CONSOLIDATED CLASS ACTION COMPLAINT
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       D.      BoA Concealed Its Unlawful Practices

       102.    BoA actively concealed its practice of opening unauthorized accounts on behalf of

Plaintiffs and Class Members. BoA concealed its fraud by withholding information regarding the

source of the fraudulent accounts. Plaintiffs and Class Members who had accounts opened under

their names at BoA often only learned of the accounts when they checked their credit reports or

tried to open an account at another institution.

       103.    When Plaintiffs and Class Members inquired with BoA about the existence of these

accounts, BoA did not tell them it was the Bank itself that opened accounts without their

permission, not third parties.

       104.    BoA misled investigators and the public by making false and misleading

statements. For example, following the investigation of Wells Fargo, the CFPB investigated BoA

over opening credit card accounts without authorization in 2019. In one of the documents provided

to the CFPB pursuant to its investigation, a lawyer for BoA acknowledged that the Bank found

specific instances of what he called “potentially unauthorized credit card accounts,” though he

claimed the number of such accounts was “vanishingly small,”18 and that BoA did not have

“systemic sales misconduct” issues.19 BoA further assured the public that it had thoroughly

investigated its sales practices, and that “following industry attention to these issues years ago,

[BoA] implemented additional controls and avenues for employees to express concerns through

multiple channels as well as our Employee Relations group.” 20 Plaintiffs and Class Members had

no reason to know these representations were false and misleading.

       105.    Nor could Plaintiffs and Class Members learn of BoA’s unlawful conduct through

other means. BoA “does not publicly disseminate”: (1) information about its internal controls

2019),            https://files.consumerfinance.gov/f/documents/201909_cfpb_bank-of-america_
petition.pdf.
18
   Kevin Wack, CFPB investigating Bank of America over phony accounts, AMERICAN BANKER
(Sept. 17, 2019), https://www.americanbanker.com/news/cfpb-investigating-bank-of-america-
over-phony-accounts.
19
   See supra note 20.
20
   Wack, supra note 3.
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relating to its investigation of wrongdoing; and (2) “the details of its incentive compensation

plans,” which would include information about BoA’s sales incentive program for opening

unauthorized banking products.21

       106.    By assuring the public and the CFPB that it did not have any issues of sales

misconduct and keeping details of its internal controls and sales incentive program confidential,

BoA concealed its practice of opening unauthorized accounts.
       E.      BoA’s Practices Caused Serious Harm to Plaintiffs and the
               Classes
       107.    BoA’s actions allowed these sales practices to flourish and harm Class Members in

ways they often did not discover until damage had already been done to their bank accounts and

credit reports. As these fraudulent accounts were created without Plaintiffs’ and Class Members’

knowledge or consent, discovery of the existence of these accounts often came about inadvertently.

Some Plaintiffs and Class Members learned of the fraudulent accounts when they attempted to

open an account at another bank and were informed of the existence of a fraud investigation on

their credit report; because of this fraud investigation, the affected Plaintiffs and Class Members

were prevented from opening accounts at other financial institutions.

       108.    Plaintiffs and Class Members were placed in an impossible position when they

inquired about the existence of these fraudulent accounts, as BoA often refused to provide

information about the accounts since the BoA customers did not possess the necessary confirming
information, such as the phone number or email that had been used when the fraudulent account

was opened in their name. BoA also refused to inform Plaintiffs and Class Members who had

created these fraudulent accounts, leaving them uncertain if they had been a victim of identity theft

or of BoA’s own aggressive sales practices and unreasonable sales quotas. Some Plaintiffs and

Class Members, worried about the possibility of continued identity theft, purchased additional


21
   In the Matter of Bank of America Corp., No. 2019-MISC-Bank of America Corp.-0001, BoA
Suppl. Submission in Support of Its Request for Confidential Treatment, at 4 (Aug. 2, 2019),
https://files.consumerfinance.gov/f/documents/201909_cfpb_bank-of-america_supplemental-
submission-confidential-treatment.pdf.
                             CONSOLIDATED CLASS ACTION COMPLAINT
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fraud protection through credit bureaus, leading to additional expense that they would otherwise

not have incurred without BoA’s fraudulent acts.

       109.      Online, several Class Members have shared their common experience of dealing

with Bank of America’s unauthorized opening of accounts—which include by way of

representative example:

                 a.     Receiving multiple emails from Bank of America regarding a credit card

                        application that the Class Member never made.22

                 b.     Spending hours on the phone with Bank of America trying to shut down

                        checking accounts that were opened without the Class Member’s consent.23

                 c.     Discovering that Bank of America had opened an account using the Class

                        Member’s old email address.24

                 d.     Expending significant time and energy to no avail trying to get any

                        information from Bank of America after it opened an account in the Class

                        Member’s name without their consent.25

       110.      Below are representative examples of consumers’ complaints filed with the CFPB

relating specifically to unauthorized accounts being opened without their knowledge or

authorization:

                 a.     I have contacted Bank of America regarding fraudulent accounts opened in

                        my name. I have never opened a credit card with them. XXXX was able to

                        remove one of the credit cards from Bank of America from my credit

                        report.26

22
    https://www.reddit.com/r/personalfinance/comments/xvnepc/what_do_i_do_about_continuing
_credit_card/.
23
      https://www.reddit.com/r/Scams/comments/12hk7yk/i_know_its_a_scam_but_im_not_sure_
how_exactly_it/.
24
   https://www.reddit.com/r/Superstonk/comments/14wtd8x/comment/jroljz3/.
25
    https://www.reddit.com/r/Banking/comments/wdjxa0/woke_up_to_a_new_bank_of_america_
checking_account/.
26
       Consumer     Complaint     No.    3400033,  CFPB      (reported  Oct.     9,  2019),
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/3400033.
                              CONSOLIDATED CLASS ACTION COMPLAINT
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              b.     Customers like myself had credit cards opened in their names without their

                     knowledge. Bonuses was given to the bank representative that fraudulently

                     applied for the credit card. . . . The bank manager XXXX XXXX, did not

                     file a complaint in XX/XX/XXXX. She acknowledged that XXXX had

                     committed credit card fraud and I had not received a disclosure.27

              c.     I received a letter from Bank of America saying that they received a credit

                     card request that I had not filed.

              d.     I was notified by email from XXXX that someone opened a credit card with

                     my social security number with Bank of America.28

              e.     I received notices from Bank of America that I opened a checking and

                     savings account at the Bank. The following day, I received mail that the

                     Bank closed the newly opened accounts immediately. I never applied to

                     open these accounts at Bank of America.29

       111.   Further, since the announcement of the Consent Order, over 206 complaints have

been filed on the CFPB’s website concerning unauthorized accounts being opened without

consumers’ knowledge or authorization.30 Below are some representative examples:




27
      Consumer Complaint No. 2104060, CFPB (reported Sept. 9, 2016),
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/2104060.
28
      Consumer Complaint No. 5758954, CFPB (reported July 11, 2022),
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/5758954.
29
      Consumer Complaint No. 1781414, CFPB (reported Feb. 10, 2016),
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/1781414.
30
      Consumer    Complaint     Database,   CFPB     https://www.consumerfinance.gov/data-
research/consumer-complaints/search/?chartType=line&dateInterval=Month&date_received_
max=2024-09-22&date_received_min=2023-07-01&issue=Opening%20an%20account%E2%80
%A2Account%20opened%20without%20my%20consent%20or%20knowledge&lens=Product&
searchField=all&searchText=bank%20of%20america&subLens=sub_product&tab=Trends.
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              112.   02/05/2024: “We received a letter from Bank of America dated

                     XX/XX/2024 welcoming my business LLC to Business Advantage

                     Fundamentals Banking Account. We did not request to open an account.”31

              113.   03/04/2024: “I received an email a few months ago that stated the account

                     could not be open without further identification process from Bank of

                     America. Upon calling them I learned that there was two checking accounts

                     opened in my name with my Social Security that I was not aware about. I

                     asked for documentation proving how this was opened in my name with my

                     social, and what ID was used to use this. They could not provide any

                     information besides telling me that the account would be closed due to

                     identity fraud.”32

              114.   04/10/2024: “Received a latter [sic] in the mail stating a business checking

                     account was opened in my name XX/XX/2024. Called the bank informed

                     them this was not an account I opened. and the bank assured me the account

                     was flagged and closed. I never received paperwork stating it was closed

                     and why it was opened without the proper documentation to identify me in

                     the first place.”33

              115.   04/13/2024: “A fraudulent Bank Account was opened in my name on

                     XX/XX/2023. I have contacted Bank of America several times and to date

                     I have not received a letter stating the account was not mines with the

                     correct name it was opened with.”34


31
      Consumer   Complaint     No.    8287278,     CFPB   (reported     Feb.     5,  2024),
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/8287278.
32
      Consumer Complaint No. 8477217, CFPB (reported Mar. 4, 2024),
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/8477217.
33
      Consumer Complaint No. 8740199, CFPB (reported Apr. 10, 2024),
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/8740199.
34
      Consumer Complaint No. 8758547, CFPB (reported Apr. 13, 2024),
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/8758547.
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        116.   BoA’s unlawful practices negatively impacted Plaintiffs and Class Members and

caused them numerous harms, including, but not limited to:

               a.    Economic harm for fees charged for unauthorized accounts;

               b.    Negative impact to their credit as a result of a credit report being run without

                     their authorization or consent and/or as a result of the unauthorized banking

                     account appearing on their credit report, and applications for consumer

                     banking accounts with other banks;

               c.    Loss of control over their personal information;

               d.    Out of pocket costs associated with purchasing of costly identity theft

                     protection services to ensure against further fraudulent activity;

               e.    Spending time and effort to investigate the facts, to dispute charges, to seek

                     closure of unauthorized accounts; and

               f.    Needing to mitigate harm going forward.

        117.   Moreover, even if consumers reported the issue to BoA, there was no guarantee

that the unauthorized accounts would be closed with all improper fees, charges, and/or negative

credit impacts remedied, reversed, and/or refunded.

               V.        TOLLING OF THE STATUTE OF LIMITATIONS

        118.   All applicable statutes of limitation have been tolled by BoA’s knowing and active

fraudulent concealment and denial of the facts alleged herein through the time period relevant to

this action.

        119.   The full extent of BoA’s omissions and misrepresentations is still not known. BoA

has never made public the details of its systemic opening of unauthorized accounts and charging

associated fees. BoA knew its employees opened fraudulent, unauthorized accounts, but

nevertheless charged customers fees associated with those unauthorized accounts and concealed

the fraud to protect their reputation and financial interests. Indeed, the fact that BoA’s deception

was only publicly revealed in July 2023 when the CFPB made public its enforcement action against


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the Bank indicates that BoA always intended to withhold this information from its customers and

the public.

        120.    Plaintiffs and Class Members did not know about BoA’s and its employees’ actions

to open unauthorized accounts. When individual Plaintiffs and Class Members did learn about this

unauthorized activity and sought answers from BoA, BoA withheld information from them,

thereby preventing them from learning about the factual bases for these claims for relief. Class

Members who were fraudulently assigned unauthorized accounts and charged improper fees

associated with those unauthorized accounts outside of the applicable statute of limitations could

not have discovered through the exercise of reasonable diligence that BoA’s purpose in obtaining

and using Class Members’ consumer credit reports was to open unauthorized accounts ostensibly

on behalf of Class Members and was concealing the conduct complained of herein. Despite

reasonable diligence on their part, Plaintiffs and Class Members remained ignorant of the factual

bases for their claims for relief.

        121.    For these reasons, all applicable statutes of limitations have been tolled by operation

of the discovery rule with respect to all claims set forth below. And all applicable statutes of

limitation have also been tolled by BoA’s knowing and active fraudulent concealment of the facts

alleged herein throughout the time period relevant to this action.

                        VI.          CLASS ACTION ALLEGATIONS

        122.    Plaintiffs bring this action on behalf of themselves and all others similarly situated

pursuant to Rule 23(b)(2) and 23(b)(3) of the Federal Rules of Civil Procedure.

        123.    The Credit Card Class Plaintiffs seek to represent the following Class:

                i.    Credit Card Class: All persons in the United States whose credit reports or

                      other sensitive consumer information were obtained and/or used by Bank of

                      America or its agents without a permissible purpose and without the person’s

                      prior knowledge or consent, and all persons in the United States who Bank of




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                     America or its agents opened a credit card product in their name without their

                     prior knowledge or authorization during the Class Period.

       124.    The Accounts Class Plaintiffs seek to represent the following Class:

                i.    Accounts Class: All persons in the United States who had one or more

                      unauthorized or unwanted account(s) opened by Bank of America or its

                      agents during the Class Period.

       125.    Further, the Accounts Class Plaintiffs propose the following State Accounts

Subclass definitions, subject to amendment as appropriate:

                i.    California Accounts Subclass: All persons in California who had one or

                      more unauthorized or unwanted account(s) opened by BoA its agents during

                      the Class Period.

               ii.    Florida Accounts Subclass: All persons in Florida who had one or more

                      unauthorized or unwanted account(s) opened by BoA or its agents during

                      the Class Period.

              iii.    Georgia Accounts Subclass: All persons in Georgia who had one or more

                      unauthorized or unwanted account(s) opened by BoA or its agents during

                      the Class Period.

              iv.     Illinois Accounts Subclass: All persons in Illinois who had one or more

                      unauthorized or unwanted account(s) opened by BoA or its agents during

                      the Class Period.

               v.     Minnesota Accounts Subclass: All persons in Minnesota who had one or

                      more unauthorized or unwanted account(s) opened by BoA or its agents

                      during the Class Period.

              vi.     New Jersey Accounts Subclass: All persons in New Jersey who had one

                      or more unauthorized or unwanted account(s) opened by BoA or its agents

                      during the Class Period.


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              vii.     Nevada Accounts Subclass: All persons in Nevada who had one or more

                       unauthorized or unwanted account(s) opened by BoA or its agents during

                       the Class Period.

              viii.    North Carolina Accounts Subclass: All persons in North Carolina who

                       had one or more unauthorized or unwanted account(s) opened by BoA or

                       its agents during the Class Period.

               ix.     Virginia Accounts Subclass: All persons in Virginia who had one or more

                       unauthorized or unwanted account(s) opened by BoA or its agents during

                       the Class Period.

       126.     Excluded from the Classes are the Court, and BoA and its officers, directors,

employees, affiliates, legal representatives, predecessors, successors and assigns, and any entity in

which any of them have a controlling interest.

       127.     Numerosity and Ascertainability: The members of the Credit Card Class are so

numerous that joinder of all members is impractical. The members of the Accounts Class and the

related Accounts Subclasses are also so numerous that joinder of all members is impractical. BoA

operates more than 3,900 full-service bank branches nationwide, through which it offers deposit

and credit products. The proposed Classes contain many thousands of members. The precise

number of members can be ascertained through discovery, which will include Defendant’s records.

       128.     Commonality and Predominance: The action involves common questions of law

and fact, which predominate over any question solely affecting individual Credit Card Class

Members or Accounts Class Members and any related Accounts Subclasses. These common

questions for Credit Card Class Members’ and Accounts Class Members’ priority claims include:

                a.    Whether and how BoA and its employees engaged in unlawful practices by

                      applying for and obtaining consumer credit reports to open accounts without

                      Class Members’ knowledge or authorization;




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       b.   Whether BoA failed to properly notify Class Members and otherwise

            concealed the opening of the unauthorized accounts;

       c.   Whether BoA charged fees and other fines to Class Members relating to

            unauthorized accounts;

       d.   Whether BoA and its employees accessed Class Members’ credit reports

            during the process of opening accounts without Class Members’ knowledge

            or authorization;

       e.   Whether BoA acted willfully or knowingly when opening credit cards and

            other Banking Products without Credit Card Class Members’ knowledge or

            authorization;

       f.   Whether BoA acted negligently in failing to implement proper controls and

            procedures for preventing the opening of unauthorized accounts;

       g.   Whether BoA knew or should have known of its employees’ deceptive,

            unlawful practices;

       h.   Whether BoA breached a duty to Class Members by failing to adequately

            monitor and control access to Class Members’ personal information and to

            ensure that its employees did not apply for and/or open accounts without the

            knowledge or authorization of the Plaintiffs and Class Members;

       i.   Whether BoA has engaged in unfair methods of competition, unconscionable

            acts or practices, and unfair fair or deceptive acts or practices with the

            unauthorized opening of accounts;

       j.   Whether BoA violated North Carolina and/or other states’ consumer

            protection statutes;

       k.   Whether BoA has been unjustly enriched;

       l.   Whether, because of BoA’s conduct, Plaintiffs and the Class have suffered

            damages (and, if so, the appropriate amount thereof); and


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               m.    Whether because of BoA’s misconduct, Plaintiffs and the Class are entitled

                     to damages.

       129.    Typicality: Credit Card Plaintiffs’ claims are typical of the Credit Card Class

Members’ claims because all Class Members were comparably injured through Defendant’s

substantially uniform misconduct as described above. Further, Accounts Plaintiffs’ claims are

typical of the Accounts Class Members’ claim because all Class Members were comparably

injured through Defendant’s substantially uniform misconduct as described above. The claims of

the Plaintiffs and each of the two subclasses arise from the same operative facts and are based on

the same legal theories.

       130.    Adequacy: The Credit Card Plaintiffs are adequate Class Representatives of the

Credit Card Class because their interests do not conflict with the interests of the other members of

the Class they seek to represent. Further, the Accounts Plaintiffs are adequate Class

Representatives of the Accounts Class because their interests do not conflict with the interests of

the other members of the Class they seek to represent. Plaintiffs have retained counsel competent

and experienced in complex class action litigation, and Plaintiffs intend to prosecute this action

vigorously. The interests of the two Classes will be fairly and adequately protected by the Plaintiffs

and their counsel.

       131.    Superiority: A class action is superior to any other available means for the fair and

efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered

in the management of this class action. The damages and other detriment suffered by Plaintiffs and

the Members of the two Classes are relatively small compared to the burden and expense that

would be required to individually litigate their claims against Defendant, so it would be virtually

impossible for the Members of the two Classes to individually seek redress for Defendant’s

wrongful conduct. Even if Members of the two Classes could afford individual litigation, the court

system could not. Individualized litigation creates a potential for inconsistent or contradictory

judgments and increases the delay and expense to all parties and the court system. By contrast, the


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class action device presents far fewer management difficulties, and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court.

        132.    Class certification under Rule 23(b)(2) is also warranted for purposes of injunctive

and declaratory relief because Defendant has acted or refused to act on grounds generally

applicable to the Classes, so that final injunctive and declaratory relief are appropriate with respect

to each Class as a whole.

               VII.         CHOICE OF LAW FOR NATIONWIDE CLAIMS

        133.    The state laws of one state will likely govern Plaintiffs’ claims.

        134.    First, the principal place of business of BoA, located in Charlotte, North Carolina,

is the “nerve center” of its business activities—the place where its high-level officers direct, control,

and coordinate the corporation’s activities, including its data security functions and major policy,

financial, and legal decisions.

        135.    North Carolina has a significant interest in regulating the conduct of businesses

operating within their border. North Carolina, which seeks to protect the rights and interests of

residents and citizens of the United States against a company headquartered and doing business in

its state, has a greater interest in the nationwide claims of Plaintiffs and Class Members than any

other state and are most intimately concerned with the claims and outcome of this litigation.

        136.    Upon information and belief, BoA’s incentive sales program, and corporate

decisions surrounding the opening of accounts, were made from and in North Carolina.

        137.    BoA’s breaches of duty to Plaintiffs and Accounts Class Members emanated from

North Carolina.

        138.    Additional factual analysis is necessary in order to determine which state’s law

should apply to the claims of the Class Members. Accordingly, it would be inappropriate to

determine choice of law at the pleadings stage of this case. Plaintiffs are therefore pleading

nationwide claims based upon North Carolina law in the alternative (or under the law of the states

of each Plaintiff).


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       139.    Application of North Carolina law with respect to Plaintiffs’ and Class Members’

claims after the completion of a factual inquiry would be neither arbitrary nor fundamentally unfair

because the state has significant contacts and a significant aggregation of contacts that create a

state interest in the claims of Plaintiffs and Class Members.

       140.    Under choice of law principles applicable to this action, the common law of North

Carolina would apply to the nationwide common law claims of all class members given North

Carolina’s significant interest in regulating the conduct of businesses operating within their

borders. Consumer protection laws may be applied to non-resident consumer plaintiffs upon

completion of the factual analysis required for the choice of law determination.

                            VIII.        CAUSES OF ACTION
                                           COUNT I
                    Violations of the Fair Credit Reporting Act (“FCRA”)
                             On Behalf of the Credit Card Class
       141.    The Credit Card Class Plaintiffs incorporate by reference all allegations of this

complaint as though fully set forth herein.

       142.    As individuals, the Credit Card Class Plaintiffs and Credit Card Class Members are

consumers entitled to the protections of the FCRA. 15 U.S.C. § 1681a(c).

       143.    As defined in 15 U.S.C. § 1681a(d), a consumer report is: any “written, oral, or

other communication of any information by a consumer reporting agency bearing on a consumer’s

credit worthiness, credit standing, credit capacity, character, general reputation, personal

characteristics, or mode of living which is used or expected to be used or collected in whole or in

part for the purpose of serving as a factor in establishing the consumer’s eligibility for—(A) credit

or insurance to be used primarily for personal, family, or household purposes; (B) employment

purposes; or (C) any other purpose authorized under section 1681b of this title.”

       144.    When BoA opens a new credit card account, it obtains a consumer report, as that

term is defined in 15 U.S.C. § 1681a(d), to review and assess the consumer’s creditworthiness for

the new product for whom the account is opened.


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       145.    BoA agreed and represented in its agreements with the national consumer reporting

agencies (“CRAs”) from which it obtains consumer reports that BoA would use consumer reports

only for lawful purposes under the FCRA as defined 15 U.S.C. § 1681b(f).35

       146.    The authorized purposes specified in FCRA include consumer reports furnished “in

connection with a credit transaction involving the consumer on whom the information is to be

furnished and involving the extension of credit to, or review or collection of an account of, the

consumer.” 15 U.S.C. § 1681b(a)(3)(A).

       147.    15 U.S.C. §§ 1681b, 1681n, and 1681q give BoA statutory requirements to refrain

from obtaining or using consumer reports from CRAs under false pretenses, and without proper

authorization from the consumer who is the subject of the report.

       148.    BoA has obligations to follow reasonable procedures, including those that would

prevent the impermissible accessing of consumer reports. 15 U.S.C. § 1681b(f).

       149.    However, BoA regularly pulled consumer reports regarding consumers without

their knowledge or consent to open unauthorized accounts and services as part of its scheme, in

violation of the FCRA.

       150.    By using or obtaining consumer reports without a permissible purpose, BoA

violated Section 604(f) of the FCRA, 15 U.S.C. § 1681b(f).

       151.    Pursuant to 15 U.S.C. §§ 1681n and 1681o, BoA is liable for negligently and/or

willfully violating the FCRA by accessing the consumer reports without a permissible purpose or

authorization under the FCRA.

       152.    Credit Card Class Plaintiffs and the Credit Card Class seek all available damages

and relief under the FCRA.




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  A “person shall not use or obtain a consumer report for any purpose unless – (1) the consumer
report is obtained for a purpose for which the consumer is authorized to be furnished” and one
other condition is met. 15 U.S.C. § 1681b(f).
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                                         COUNT II
                                         Negligence
              On Behalf of the Accounts Class and the State Accounts Subclasses
       153.      The Accounts Class Plaintiffs incorporate by reference all allegations of this

complaint as though fully set forth herein.

       154.      The Accounts Class Plaintiffs and Accounts Class Members entrusted their

personal information to Defendant on the premise and with the understanding that they would

safeguard their personal information, use the information for business purposes only, and/or not

disclose their personal information to unauthorized third parties.

       155.      BoA owed a duty of care to the Accounts Class Plaintiffs and Accounts Class

Members to adequately control access to the Accounts Class Plaintiffs’ and Accounts Class

Members’ personal information and to ensure its employees did not apply for and/or authorize new

accounts without customers’ knowledge or consent. The existence of this duty is confirmed by the

statutes outlined above, including the Bank Security Act (31 U.S.C. § 5311, et seq.), the Fair Credit

Reporting Act (15 U.S.C. § 1681, et seq.) and the Truth in Lending Act (15 U.S.C. § 1642, et seq.).

       156.      Defendant breached its duty to by implementing an incentive program whereby it

rewarded its employees for opening new accounts, creating a high-pressure environment that

encouraged its employees to open unauthorized accounts. Defendant also failed to implement

adequate safeguards and controls to ensure unauthorized accounts were not opened by its

employees, such as requiring consumer’s identities be verified prior to and shortly after the

opening of an account, sending notice prior to the opening of an account, and obtaining consent

from customers prior to running their credit reports. It also failed to exercise reasonable care in

monitoring the opening of new accounts, to confirm that the accounts had not been open without

authorization.

       157.      BoA further breached its duties by failing to exercise reasonable care in supervising

its agents, contractors, vendors, and suppliers, and in handling and securing the personal

information of the Accounts Class Plaintiffs and Accounts Class Members which actually and


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proximately caused the unauthorized accounts to be opened and which resulted in the Accounts

Class Plaintiffs’ and Accounts Class Members’ injury.

        158.    BoA further breached its duties by failing to notify the Accounts Class Plaintiffs

and Accounts Class Members of the opening of the unauthorized accounts, which actually and

proximately caused and exacerbated the harm of the opening of the unauthorized accounts.

        159.    Defendant acted with wanton and reckless disregard for the security and

confidentiality of Plaintiffs and Class Members.

        160.    As a direct and traceable result of BoA’s negligence and/or negligent supervision,

the Accounts Class Plaintiffs and Accounts Class Members have suffered or will suffer damages,

including monetary damages, increased risk of future harm, embarrassment, humiliation,

frustration, and emotional distress.

        161.    BoA’s breach of its common-law duties to exercise reasonable care and its failures

and negligence actually and proximately caused the Accounts Class Plaintiffs and Accounts Class

Members actual, tangible, injury-in-fact and damages, including, without limitation, harm to their

credit score from a credit report being run and/or from an unauthorized account appearing on their

credit report, damages from fees associated with the unauthorized accounts, the loss of control

over their personal information, lost value of their personal information, and lost time and money

incurred to mitigate and remediate the effects of the BoA’s negligence, which injury-in-fact and

damages are ongoing, imminent, immediate, and which they continue to face.
                                           COUNT III
                                       Unjust Enrichment
                    On Behalf of All Plaintiffs, All Classes, and All Subclasses
        162.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        163.    As a result of BoA’s unlawful and deceptive actions described herein, BoA was

enriched at the expense of Plaintiffs and the Class through the payment of fees, penalties, and other

charges resulting from unlawfully opened accounts, products, and services. BoA was further


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enriched by publicly reporting higher account numbers in its annual and quarterly reports as a

result of this unlawful practice.

        164.    BoA’s unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein. Had BoA enacted adequate standards and controls to prevent

employees from opening accounts on their own initiative—such as by restricting employees’

access to customers’ personal information, requiring express consent from consumers, and

conducting due diligence regarding the opening of accounts—Plaintiffs and Class Members would

not have been harmed by the opening of unauthorized accounts. BoA has been unjustly enriched

at the expense of, and to the detriment of, Plaintiffs and Class Members.

        165.    Under the common law doctrine of unjust enrichment, it is inequitable to permit

BoA to retain the ill-gotten benefits that it received from Plaintiffs and the Classes, because BoA

used illegal, deceptive, and/or unfair practices to open accounts for Plaintiffs and Class Members

without their knowledge or authorization. Thus, it would be unjust and inequitable for BoA to

retain those benefits without restitution to Plaintiffs and the Classes for the monies paid to BoA

because of the unfair, deceptive, and/or illegal practices.

        166.    As a result of this conduct, Plaintiffs and the Classes seek disgorgement of all ill-

gotten profits as a result of the scheme.
                                           COUNT IV
                                        Declaratory Relief
                    On Behalf of All Plaintiffs, All Classes, and All Subclasses
        167.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        168.    The Declaratory Judgment Act, 28 U.S.C. § 2201(a), provides that in “a case of

actual controversy within its jurisdiction . . . any court of the United States . . . may declare the

rights and other legal relations of any interested party seeking such declaration, whether or not

further relief is or could be sought.” 28 U.S.C. § 2201(a). Furthermore, the Court has broad




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authority to restrain acts, such as here, that are tortious and violate the terms of the federal and state

statutes described in this Complaint.

        169.    An actual controversy has arisen regarding BoA’s present and prospective common

law and other duties to reasonably protect Plaintiffs and the Class from unauthorized accounts.

        170.    As described above, this Court has jurisdiction over this matter, and therefore may

declare the rights of Plaintiffs and the Classes.

        171.    Plaintiffs and the Classes therefore seek an order declaring BoA’s practice of

opening unauthorized accounts unlawful, and that BoA is liable to Plaintiffs and the Classes for

damages caused by that practice. The Court also should issue corresponding prospective injunctive

relief requiring BoA to employ adequate security protocols consistent with law and industry

standards to prevent the opening of unauthorized accounts.

        172.    If an injunction is not issued, Plaintiffs and Class Members will suffer irreparable

injury, and lack an adequate legal remedy, in the event further unauthorized accounts are opened.

The risk of BoA’s continued illegal conduct is real, immediate, and substantial. If further BoA

continues to open unauthorized accounts, Plaintiffs and Class Members will not have an adequate

remedy at law because many of the resulting injuries are not readily quantified and they will be

forced to bring multiple lawsuits to rectify the same conduct.

        173.    The hardship to Plaintiffs and Class Members if an injunction does not issue

exceeds the hardship to BoA if an injunction is issued. Among other things, in the event that BoA

continues to open unauthorized accounts, Plaintiffs and Class Members will likely face additional

fees, harm to their credit, and lost time mitigating the effects. On the other hand, the cost to BoA

of complying with an injunction by employing reasonable measures to verify consent before

opening a banking account is relatively minimal, and BoA has a pre-existing legal obligation to

employ such measures.

        174.    Issuance of the requested injunction will not disserve the public interest. To the

contrary, such an injunction would benefit the public by preventing BoA from opening further


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unauthorized accounts, thus eliminating the additional injuries that would result to Plaintiffs and

Class Members.
                                        COUNT V
 North Carolina Unfair and Deceptive Trade Practices Act (“UDTPA”), N.C. Gen. Stat.
                                   Ann. §§ 75-1, et seq.
On Behalf of Plaintiffs and the Accounts Class, or Alternatively, on Behalf of Plaintiffs and
                          the Statewide North Carolina Subclass
       175.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein, except those applying solely to the Credit Card Class.

       176.    The UDTPA protects both consumers and competitors by promoting fair

competition in commercial markets for goods and services. The UDTPA “declares unlawful” all

“unfair methods of competition in or affecting commerce, and unfair or deceptive acts or practices

in or affective commerce.” N.C. Gen. Stat. Ann. § 75-1.1(a).

       177.    BoA affected commerce by engaging in trade directly or indirectly affecting the

people of North Carolina, as defined by N.C. Gen. Stat. Ann. § 75-1.1(b), by advertising, offering,

and selling banking products, including checking and savings accounts, and loans.

       178.    In violation of the UDTPA, BoA engaged in unfair, unlawful and/or deceptive trade

practices, including, but not limited to:

               a.    Defendant opened bank accounts without the authorization and consent of the

                     Plaintiffs and Class Members;

               b.    Defendant failed to safeguard Plaintiffs’ and Class Members’ personal

                     information and allowed employees to access such information to open

                     unauthorized accounts;

               c.    Defendant failed to implement adequate controls and conduct reasonable

                     diligence, such as by verifying customer’s identification and monitoring the

                     opening of accounts with no or little activity, to prevent Plaintiffs and Class

                     Members from having unauthorized accounts opened on their behalf;




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       d.   Defendant obtained consumer reports and submitted applications for

            Plaintiffs and Class Members without their authorization or consent. This

            conduct, with little if any utility, is unfair when weighed against the harm to

            Plaintiffs and Class Members, including harms in the form of fees charged

            and impacts to their credit reports;

       e.   Defendant’s design and implementation of an employee incentive

            compensation program that set unrealistic quotas of new accounts for BoA

            employees to open, rewarded BoA employees for the sheer number of

            accounts it opened on behalf of Plaintiffs and Class Members, even if those

            accounts were opened without the authorization of Plaintiffs and Class

            Members, and punished BoA employees for failing to hit such quotas.

            Defendant’s incentive program created a high-pressure environment where

            employees were pressured to open unauthorized accounts;

       f.   Defendant failed to correct BoA employees who opened accounts without the

            authorization of Plaintiffs and Class Members, including through the

            deceptive, unfair conduct described above;

       g.   Defendant failed to notify Plaintiffs and Class Members that it opened

            unauthorized accounts on their behalf but without their consent, including

            through the deceptive, unfair conduct described above;

       h.   Defendant charged Plaintiffs and Class Members fees associated with the

            accounts that it opened without the authorization of Plaintiffs and Class

            Members;

       i.   Defendant failed to notify Plaintiffs and Class Members that it charged them

            fees associated with the unauthorized accounts the Bank opened on their

            behalf but without their consent;




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               j.    Defendant was obligated to comply with federal law, including with the Fair

                     Credit Reporting Act (15 U.S.C. § 1681) and Truth in Lending Act (15 U.S.C.

                     § 1642; 12 C.F.R. § 1026.12(a)), as well as the Bank Secrecy Act and anti-

                     money laundering regulations. Despite its obligations, BoA failed to comply

                     with these laws and it omitted, suppressed, and concealed that fact from

                     Plaintiffs and Class Members;

               k.    Defendant’s deceptive, unfair practices also led to substantial injuries, as

                     described above, that are not outweighed by any countervailing benefits to

                     consumers or competition. Moreover, because Plaintiffs and Class Members

                     could not know of Defendant’s deceptive scheme to open unauthorized

                     accounts and charge customers associated fees, including by obtaining

                     consumer reports and using such reports to submit credit applications without

                     the authorization of Plaintiffs and Class Members, consumers could not have

                     reasonably avoided the harms that Defendant caused;

               l.    Defendant omitted, suppressed, and concealed the material facts described

                     above to Plaintiffs and Class Members; and

               m.    Other ways to be discovered and proved at trial.

       179.    BoA engaged in the above conduct intentionally, recklessly, and/or negligently for

the benefit of BoA and/or its employees, and to the detriment of Plaintiffs and Class Members.

       180.    BoA’s conduct was unfair and deceptive as it involved using Plaintiffs’ and Class

Members’ personal information without their knowledge or consent. Such conduct offends public

policy and is immoral, unethical, oppressive, unscrupulous, and substantially injurious to Plaintiffs

and Class Members.

       181.    BoA’s conduct was an inequitable assertion and abuse of power and position since

the Bank secretly used private and confidential information entrusted to it by its customers for the




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Bank’s benefit and at its customers’ expense. Plaintiffs and Class Members never authorized the

use of their personal information in this manner, nor were they informed that it would be so used.

       182.    Moreover, Plaintiffs and Class Members were misled about how and why these

accounts were opened by being told they were victims of identity theft or a data breach.

       183.    Plaintiffs and Class Members were injured by the impact on their credit scores

because of the credit checks performed to open these unauthorized account and/or the unauthorized

accounts appearing on their credit reports; being charged fees for accounts and services for which

they did not authorize; loss of control of their personal identifying information; spending time and

effort investigating and closing these accounts; being given false or misleading information on

how these accounts were opened; and the need and expense monitoring their credit reports,

personal identifying information, and bank accounts going forward.

       184.    As a direct and proximate result of these deceptive acts and practices, Plaintiffs and

the Class suffered and will continue to suffer injury, ascertainable losses of money or property,

and monetary and non-monetary damages, including damage as a result of the unauthorized

accounts appearing on their credit reports, damage to their credit score from a credit report being

run to open the unauthorized credit card account, damages from fees associated with the

unauthorized accounts, lost time and effort spent investigating the unauthorized account, reporting

the issue to BoA, making sure it was corrected, and attempting to mitigate further harm, including

harm to potential identity theft, the loss of control over personal identifying information, and

payment for crediting monitoring and lock services.

       185.    Plaintiffs and the Class seek all available damages and relief under the UDTPA,

including but not limited to treble damages as well as reasonable costs and attorneys’ fees.




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 IX.          CLAIMS ON BEHALF OF THE CALIFORNIA ACCOUNTS SUBCLASS
                                        COUNT VI
   California Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.
         On Behalf of the California Plaintiff and the California Accounts Subclass
       186.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein, except those applying solely to the Credit Card Class.

       187.    Plaintiff Miedo Donque (the “California Plaintiff”) brings this Claim on behalf of

himself and members of the California Accounts Subclass.

       188.    Defendant violated the UCL by engaging in unlawful, unfair, and deceptive

business acts and practices.

       189.    Defendant’s unlawful, unfair acts and deceptive acts and practices include:

               a.    Defendant opened bank accounts without the authorization and consent of

                     California Plaintiff and the California Subclass Members;

               b.    Defendant failed to safeguard California Plaintiff’s and the California

                     Subclass Members’ personal information and allowed employees to access

                     such information to open unauthorized accounts;

               c.    Defendant failed to implement adequate controls and conduct reasonable

                     diligence, such as by verifying customer’s identification and monitoring the

                     opening of accounts with no or little activity, to prevent California Plaintiff

                     and the California Subclass Members from having unauthorized accounts

                     opened on their behalf;

               d.    Defendant obtained consumer reports and submitted applications for

                     California Plaintiff and the California Subclass Members without their

                     authorization or consent. This conduct, with little if any utility, is unfair when

                     weighed against the harm to California Plaintiff and the California Subclass

                     Members, including harms in the form of fees charged and impacts to their

                     credit reports;


                               CONSOLIDATED CLASS ACTION COMPLAINT
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       e.   Defendant’s design and implementation of an employee incentive

            compensation program that set unrealistic quotas of new accounts for BoA

            employees to open, rewarded BoA employees for the sheer number of

            accounts it opened on behalf of California Plaintiff and the California

            Subclass Members, even if those accounts were opened without the

            authorization of California Plaintiff and the California Subclass Members,

            and punished BoA employees for failing to hit such quotas. Defendant’s

            incentive program created a high-pressure environment where employees

            were pressured to open unauthorized accounts;

       f.   Defendant failed to correct BoA employees who opened accounts without the

            authorization of California Plaintiff and the California Subclass, including

            through the deceptive, unfair conduct described above;

       g.   Defendant failed to notify California Plaintiff and the California Subclass

            Members that it opened unauthorized accounts on their behalf but without

            their consent, including through the deceptive, unfair conduct described

            above;

       h.   Defendant charged California Plaintiff and the California Subclass Members

            fees associated with the accounts that it opened without the authorization of

            Plaintiffs and the California Subclass Members;

       i.   Defendant failed to notify California Plaintiff and the California Subclass

            Members that it charged them fees associated with the unauthorized accounts

            the Bank opened on their behalf but without their consent;

       j.   Defendant misrepresented that BoA would comply with its obligations under

            federal law, including with the Fair Credit Reporting Act (15 U.S.C. § 1681)

            and Truth in Lending Act (15 U.S.C. § 1642; 12 C.F.R. § 1026.12(a)), as well

            as the Bank Secrecy Act and anti-money laundering regulations. Despite these


                     CONSOLIDATED CLASS ACTION COMPLAINT
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                       representations, BoA failed to comply with these laws and it omitted,

                       suppressed, and concealed that fact from California Plaintiff and the

                       California Subclass Members;

                  k.   Defendant’s deceptive, unfair practices also led to substantial injuries, as

                       described above, that are not outweighed by any countervailing benefits to

                       consumers or competition. Moreover, because California Plaintiff and the

                       California Subclass Members could not know of Defendant’s deceptive

                       scheme to open unauthorized accounts and charge customers associated fees,

                       including by obtaining consumer reports and using such reports to submit

                       credit applications without the authorization of California Plaintiff and the

                       California Subclass Members, consumers could not have reasonably avoided

                       the harms that Defendant caused;

                  l.   Defendant omitted, suppressed, and concealed the material facts described

                       above to California Plaintiff and the California Subclass Members; and

                  m.   Other ways to be discovered and proved at trial.

       190.       Defendant’s representations and material omissions of fact, as alleged herein, to

California Plaintiff and the California Subclass Members were material because they were likely

to deceive reasonable consumers about the purpose for obtaining consumer reports, the submission

of applications for unauthorized accounts without the consent of California Plaintiff and the

California Subclass, the opening of unauthorized accounts without the consent of California

Plaintiff and the California Subclass, and the charging of fees associated with unauthorized

accounts opened without the consent of California Plaintiff and the California Subclass.

       191.       Defendant intended to mislead California Plaintiff and the California Subclass

Members and induce them to rely on their misrepresentations and material omissions of fact as

alleged herein.




                               CONSOLIDATED CLASS ACTION COMPLAINT
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        192.    Had Defendant disclosed to California Plaintiff and the California Subclass

Members that BoA employees had opened unauthorized accounts with the consent of California

Plaintiff and the California Subclass Members, Defendant would have been unable to continue

incentivizing its employees to make new sales—which contribute significantly to the Bank’s

profits—and it would have been forced to close accounts, refund fees en masse, and comply with

the law. Accordingly, California Plaintiff and the California Subclass Members acted reasonably

in relying on Defendant’s misrepresentations and material omissions of fact, the truth of which

they could not have discovered.

        193.    Defendant acted intentionally, knowingly, and maliciously to violate California’s

Unfair Competition Law, and recklessly disregarded California Plaintiff’s and the California

Subclass Members’ rights.

        194.    As a direct and proximate result of Defendant’s unfair, unlawful, and fraudulent

acts and practices, California Plaintiff and the California Subclass Members have suffered and will

continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages as described herein and as will be proved at trial, including damage as a result

of the unauthorized accounts appearing on their credit reports, damage to their credit score from a

credit report being run to open the unauthorized credit card account, damages from fees associated

with the unauthorized accounts, lost time and effort spent investigating the unauthorized account,

reporting the issue to BoA, making sure it was corrected, and attempting to mitigate further harm,

including harm to potential identity theft, the loss of control over personal identifying information,

and payment for crediting monitoring and lock services.

        195.    California Plaintiff and the California Subclass Members seek all monetary and

non-monetary relief allowed by law, including restitution of all profits stemming from Defendant’s

unfair, unlawful, and fraudulent business practices; declaratory relief; injunctive relief; reasonable

attorneys’ fees and costs under California Code of Civil Procedure § 1021.5; and other appropriate

equitable relief.


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     X.          CLAIMS ON BEHALF OF THE ILLINOIS ACCOUNTS SUBCLASS
                                         COUNT IX
 Illinois Consumer Fraud and Deceptive Business Practices Act (“ICFA”), 815 Ill. Comp.
                                      Stat. 505/1, et seq.
            On Behalf of the Illinois Plaintiff and the Illinois Accounts Subclass
          196.   Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein, except those applying solely to the Credit Card Class.

          197.   Plaintiff Robert Schak (the “Illinois Plaintiff”) brings this Claim on behalf of

himself and members of the Illinois Accounts Subclass.

          198.   At all times relevant hereto, the Illinois Plaintiff, Illinois Subclass Members, and

BoA were either natural persons or their legal representatives, partnerships, corporations,

companies, trusts, business entities, or associations. 815 Ill. Comp. Stat. 505/1(c).

          199.   The Illinois Plaintiff and Illinois Subclass Members are also consumers as defined

in 815 Ill. Comp. Stat. 505/1(e).

          200.   The ICFA prohibits “unfair or deceptive acts or practices . . . with intent that others

rely upon the concealment, suppression or omission of such material fact . . . in the conduct of any

trade or commerce[.]” 815 Ill. Comp. Stat. 505/2.

          201.   Under the ICFA, “trade” or “commerce” is the “advertising, offering for sale, sale,

or distribution of any services and any property, tangible or intangible, real, personal or mixed,

and any another article, commodity, or thing of value wherever situated, and shall include any

trade or commerce directly or indirectly affecting the people of this State.” 815 Ill. Comp. Stat.

505/1(f).

          202.   At all times relevant hereto, BoA engaged in the advertising, offering for sale, sale,

and/or distribution of property and services, in the form of financial products and services.

          203.   The Illinois Plaintiff and the Illinois Subclass Members purchased the products and

services at issue herein for their use or that of members of their households.




                               CONSOLIDATED CLASS ACTION COMPLAINT
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       204.   The ICFA, 815 Ill Comp. Stat. 505/1, et seq., provides in pertinent part:
       Unfair methods of competition and unfair or deceptive acts or practices, including
       but not limited to the use or employment of any deception fraud, false pretense,
       false promise, misrepresentation or the concealment, suppression or omission of
       any material fact, with intent that others rely upon the concealment, suppression or
       omission of such material fact, or the use or employment of any practice described
       in Section 2 of the “Uniform Deceptive Trade Practices Act”, approved August 5,
       1965, in the conduct of any trade or commerce are hereby declared unlawful
       whether any person has in fact been misled, deceived or damaged thereby.

       205.   BoA, by and through its employees, agents, and/or servants, engaged in unlawful

schemes and courses of conduct with regard to the sale and marketing of its Products by unfairly

engaging in the following:

              a.    Defendant opened bank accounts without the authorization and consent of the

                    Illinois Plaintiff and the Illinois Subclass Members;

              b.    Defendant failed to safeguard Illinois Plaintiff’s and the Illinois Subclass

                    Members’ personal information and allowed employees to access such

                    information to open unauthorized accounts;

              c.    Defendant failed to implement adequate controls and conduct reasonable

                    diligence, such as by verifying customer’s identification and monitoring the

                    opening of accounts with no or little activity, to prevent Illinois Plaintiff and

                    the Illinois Subclass Members from having unauthorized accounts opened on

                    their behalf;

              d.    Defendant obtained consumer reports and submitted applications for Illinois

                    Plaintiff and the Illinois Subclass Members without their authorization or

                    consent. This conduct, with little if any utility, is unfair when weighed against

                    the harm to Illinois Plaintiff and the Illinois Subclass Members, including

                    harms in the form of fees charged and impacts to their credit reports;

              e.    Defendant’s design and implementation of an employee incentive

                    compensation program that set unrealistic quotas of new accounts for BoA


                             CONSOLIDATED CLASS ACTION COMPLAINT
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            employees to open, rewarded BoA employees for the sheer number of

            accounts it opened on behalf of Illinois Plaintiff and the Illinois Subclass

            Members, even if those accounts were opened without the authorization of

            Illinois Plaintiff and the Illinois Subclass Members, and punished BoA

            employees for failing to hit such quotas. Defendant’s incentive program

            created a high-pressure environment where employees were pressured to open

            unauthorized accounts;

       f.   Defendant failed to correct BoA employees who opened accounts without the

            authorization of Illinois Plaintiff and the Illinois Subclass, including through

            the deceptive, unfair conduct described above;

       g.   Defendant failed to notify Illinois Plaintiff and Illinois Subclass Members that

            it opened unauthorized accounts on their behalf but without their consent,

            including through the deceptive, unfair conduct described above;

       h.   Defendant charged Illinois Plaintiff and Illinois Subclass Members fees

            associated with the accounts that it opened without the authorization of

            Illinois Plaintiff and Illinois Subclass Members;

       i.   Defendant failed to notify Illinois Plaintiff and Illinois Subclass Members that

            it charged them fees associated with the unauthorized accounts the Bank

            opened on their behalf but without their consent;

       j.   Defendant misrepresented that BoA would comply with its obligations under

            federal law, including with the Fair Credit Reporting Act (15 U.S.C. § 1681)

            and Truth in Lending Act (15 U.S.C. § 1642; 12 C.F.R. § 1026.12(a)), as well

            as the Bank Secrecy Act and anti-money laundering regulations. Despite these

            representations, BoA failed to comply with these laws and it omitted,

            suppressed, and concealed that fact from Illinois Plaintiff and Illinois

            Subclass Members;


                    CONSOLIDATED CLASS ACTION COMPLAINT
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               k.     Defendant’s deceptive, unfair practices also led to substantial injuries, as

                      described above, that are not outweighed by any countervailing benefits to

                      consumers or competition. Moreover, because Illinois Plaintiff and Illinois

                      Subclass Members could not know of Defendant’s deceptive scheme to open

                      unauthorized accounts and charge customers associated fees, including by

                      obtaining consumer reports and using such reports to submit credit

                      applications without the authorization of Illinois Plaintiff and Illinois

                      Subclass Members, consumers could not have reasonably avoided the harms

                      that Defendant caused;

               l.     Defendant omitted, suppressed, and concealed the material facts described

                      above to Illinois Plaintiff and Illinois Subclass Members; and

               m.     Other ways to be discovered and proved at trial.

       206.    BoA engaged in such unlawful course of conduct with the intent to induce the

Illinois Plaintiff and Illinois Subclass Members to provide access to their consumer reports, to

authorize opening new accounts, and to pay fees associated with such accounts.

       207.    The fact that BoA misrepresented, concealed, suppressed, or omitted information

regarding its purposes for obtaining and using customers’ consumer reports, opening unauthorized

new accounts, and charging fees associated with such accounts, as alleged above, was material in

that statements from BoA employees regarding consumer reports, account opening and closing,

and associated account fees is the type of information upon which a reasonable consumer is

expected to rely in making a decision of whether to open or close an account, or pay fees associated

with such accounts.

       208.    BoA’s acts or practices alleged herein offend the clearly stated public policy

prohibiting such practices as set forth in the Electronic Funds Transfer Act (15 U.S.C. § 1693),

Fair Credit Reporting Act (15 U.S.C. § 1681), and Truth in Lending Act (15 U.S.C. § 1642; 12

C.F.R. § 1026.12(a)).


                             CONSOLIDATED CLASS ACTION COMPLAINT
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         209.     BoA’s acts or practices were likely to cause, and did cause, substantial injury to

consumers as they resulted in BoA receiving revenue to which BoA is not entitled. The injuries

caused by BoA’s acts or practices, namely consumers’ monetary losses, are not outweighed by

any countervailing benefit to consumers or competition. BoA’s unfair acts served no purpose other

than to increase its own profits.

         210.     Defendant intended to mislead the Illinois Plaintiff and the Illinois Subclass

Members and induce them to rely on their misrepresentations and material omissions of fact as

alleged herein.

         211.     BoA’s misconduct, including its misrepresentations and omission of material facts

alleged herein, took place in connection with BoA’s course of trade or commerce in Illinois, arose

out of transactions that occurred in Illinois, and/or harmed individuals located in Illinois.

         212.     BoA intended for the Illinois Plaintiff and the Illinois Subclass Members to

purchase its products and pay associated fees in reliance on BoA’s unfair acts and/or practices.

         213.     Had Defendant disclosed to the Illinois Plaintiff and the Illinois Subclass Members

that BoA employees had opened unauthorized accounts without the consent of Plaintiffs and the

Class Members, Defendant would have been unable to continue incentivizing its employees to

make new sales—which contribute significantly to BoA’s profits—and it would have been forced

to close accounts, refund fees en masse, and comply with the law. Accordingly, the Illinois Plaintiff

and the Illinois Subclass Members acted reasonably in relying on Defendant’s misrepresentations

and material omissions of fact, the truth of which they could not have discovered.

         214.     The Illinois Plaintiff and the Illinois Subclass Members did not open the

unauthorized accounts and those accounts would not have been opened, had BoA not

misrepresented its purposes for obtaining and using customers’ consumer reports and

misrepresented the authorization or legitimacy of the phantom accounts opened.

         215.     The deceptive acts and/or practices of BoA violate the ICFA, 815 Ill. Comp. Stat.

505/2.


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        216.    As a direct and proximate result of the unfair acts and/or practices of BoA, the

Illinois Plaintiff and the Illinois Subclass Members were damaged in that they did not receive the

benefit of their bargain and paid fees on accounts opened by BoA without authorization.

        217.    The Illinois Plaintiff and the Illinois Subclass Members request that this Court

enjoin BoA from continuing to violate the ICFA as discussed herein. The Illinois Plaintiff and the

Illinois Subclass Members also seek all damages permitted by law, including damage as a result

of the unauthorized accounts appearing on their credit reports, damage to their credit score from a

credit report being run to open the unauthorized credit card account, damages from fees associated

with the unauthorized accounts, lost time and effort spent investigating the unauthorized account,

reporting the issue to BoA, making sure it was corrected, and attempting to mitigate further harm,

including harm to potential identity theft, the loss of control over personal identifying information,

and payment for crediting monitoring and lock services.

  XI.          CLAIMS ON BEHALF OF THE MINNESOTA ACCOUNTS SUBCLASS
                                      COUNT X
Minnesota Consumer Fraud Act (“MCFA”), Minn. Stat. §§ 325F.68, et seq. and Minn. Stat.
                                    §§ 8.31, et seq.
       On Behalf of the Minnesota Plaintiff and the Minnesota Accounts Subclass
        218.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein, except those applying solely to the Credit Card Class.

        219.    Plaintiff Gwenevere Alexander-Tell (the “Minnesota Plaintiff”) brings this Claim

on behalf of herself and members of the Minnesota Accounts Subclass.

        220.    BoA, Minnesota Plaintiff, and members of the Minnesota Accounts Subclass are

each a “person” as defined by Minn. Stat. § 325F.68(3).

        221.    BoA’s goods, services, commodities, and intangibles are “merchandise” as defined

by Minn. Stat. § 325F.68(2).

        222.    BoA engaged in “sales” as defined by Minn. Stat. § 325F.68(4).




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       223.   BoA engaged in fraud, false pretense, false promise, misrepresentation, misleading

statements, and deceptive practices in connection with the sale of merchandise, in violation of

Minn. Stat. § 325F.69(1), including:

                  a. Defendant opened bank accounts without the authorization and consent of

                      the Minnesota Plaintiff and the Minnesota Subclass Members;

                  b. Defendant failed to safeguard Minnesota Plaintiff’s and the Minnesota

                      Subclass Members’ personal information and allowed employees to access

                      such information to open unauthorized accounts;

                  c. Defendant failed to implement adequate controls and conduct reasonable

                      diligence, such as by verifying customer’s identification and monitoring the

                      opening of accounts with no or little activity, to prevent Minnesota Plaintiff

                      and the Minnesota Subclass Members from having unauthorized accounts

                      opened on their behalf;

                  d. Defendant obtained consumer reports and submitted applications for

                      Minnesota Plaintiff and the Minnesota Subclass Members without their

                      authorization or consent. This conduct, with little if any utility, is unfair

                      when weighed against the harm to Minnesota Plaintiff and the Minnesota

                      Subclass Members, including harms in the form of fees charged and impacts

                      to their credit reports;

                  e. Defendant’s design and implementation of an employee incentive

                      compensation program that set unrealistic quotas of new accounts for BoA

                      employees to open, rewarded BoA employees for the sheer number of

                      accounts it opened on behalf of Minnesota Plaintiff and the Minnesota

                      Subclass Members, even if those accounts were opened without the

                      authorization of Minnesota Plaintiff and the Minnesota Subclass Members,

                      and punished BoA employees for failing to hit such quotas. Defendant’s


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             incentive program created a high-pressure environment where employees

             were pressured to open unauthorized accounts;

          f. Defendant failed to correct BoA employees who opened accounts without

             the authorization of Minnesota Plaintiff and the Minnesota Subclass,

             including through the deceptive, unfair conduct described above;

          g. Defendant failed to notify Minnesota Plaintiff and the Minnesota Subclass

             Members that it opened unauthorized accounts on their behalf but without

             their consent, including through the deceptive, unfair conduct described

             above;

          h. Defendant charged Minnesota Plaintiff and the Minnesota Subclass

             Members fees associated with the accounts that it opened without the

             authorization of Minnesota Plaintiff and Minnesota Subclass Members;

          i. Defendant failed to notify Minnesota Plaintiff and the Minnesota Subclass

             Members that it charged them fees associated with the unauthorized

             accounts the Bank opened on their behalf but without their consent;

          j. Defendant misrepresented that BoA would comply with its obligations

             under federal law, including with the Fair Credit Reporting Act (15 U.S.C.

             § 1681) and Truth in Lending Act (15 U.S.C. § 1642; 12 C.F.R.

             § 1026.12(a)), as well as the Bank Secrecy Act and anti-money laundering

             regulations. Despite these representations, BoA failed to comply with these

             laws and it omitted, suppressed, and concealed that fact from Minnesota

             Plaintiff and the Minnesota Subclass Members;

          k. Defendant’s deceptive, unfair practices also led to substantial injuries, as

             described above, that are not outweighed by any countervailing benefits to

             consumers or competition. Moreover, because Minnesota Plaintiff and the

             Minnesota Subclass Members could not know of Defendant’s deceptive


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                         scheme to open unauthorized accounts and charge customers associated

                         fees, including by obtaining consumer reports and using such reports to

                         submit credit applications without the authorization of Minnesota Plaintiff

                         and the Minnesota Subclass Members, consumers could not have

                         reasonably avoided the harms that Defendant caused;

                     l. Defendant omitted, suppressed, and concealed the material facts described

                         above to Minnesota Plaintiff and the Minnesota Subclass Members; and

                     m. Other ways to be discovered and proved at trial.

       224.       BoA’s representations and omissions were material because they were likely to

deceive reasonable consumers about the purpose for obtaining consumer reports, the submission

of applications for unauthorized accounts without the consent of Minnesota Plaintiff and the

Minnesota Subclass Members, the opening of unauthorized accounts without the consent of

Minnesota Plaintiff and the Minnesota Subclass Members, and the charging of fees associated with

unauthorized accounts opened without the consent of Minnesota Plaintiff and the Minnesota

Subclass Members.

       225.       Defendant intended to mislead Minnesota Plaintiff and the Minnesota Subclass

Members and induce them to rely on their misrepresentations and material omissions of fact as

alleged herein.

       226.       Had Defendant disclosed to Minnesota Plaintiff and the Minnesota Subclass

Members that BoA employees had opened unauthorized accounts with the consent of Minnesota

Plaintiff and the Minnesota Subclass Members, Defendant would have been unable to continue

incentivizing its employees to make new sales—which contribute significantly to the Bank’s

profits—and it would have been forced to close accounts, refund fees en masse, and comply with

the law. Accordingly, Minnesota Plaintiff and the Minnesota Subclass Members acted reasonably

in relying on Defendant’s misrepresentations and material omissions of fact, the truth of which

they could not have discovered.


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       227.     Defendant acted intentionally, knowingly, and maliciously to violate MCFA, and

recklessly disregarded Minnesota Plaintiff’s and the Minnesota Subclass Members’ rights.

       228.    As a direct and proximate result of Defendant’s unfair, unlawful, and fraudulent

acts and practices, Minnesota Plaintiff and the Minnesota Subclass Members have suffered and

will continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages as described herein and as will be proved at trial, including damage as a result

of the unauthorized accounts appearing on their credit reports, damage to their credit score from a

credit report being run to open the unauthorized credit card account, damages from fees associated

with the unauthorized accounts, lost time and effort spent investigating the unauthorized account,

reporting the issue to BoA, making sure it was corrected, and attempting to mitigate further harm,

including harm to potential identity theft, the loss of control over personal identifying information,

and payment for crediting monitoring and lock services.

       229.    Minnesota Plaintiff and Minnesota Subclass Members seek all monetary and non-

monetary relief allowed by law, including damages; injunctive or other equitable relief; and

attorneys’ fees, disbursements, and costs.
                                    COUNT XI
Minnesota Uniform Deceptive Trade Practices Act (“MUDTPA”), Minn. Stat. §§ 325D.43,
                                       et seq.
      On Behalf of the Minnesota Plaintiff and the Minnesota Accounts Subclass
       230.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein, except those applying solely to the Credit Card Class.

       231.    Plaintiff Gwenevere Alexander-Tell (the “Minnesota Plaintiff”) brings this Claim

on behalf of herself and members of the Minnesota Accounts Subclass.

       232.    By engaging in deceptive trade practices in the course of its business and vocation,

directly or indirectly affecting the people of Minnesota, BoA violated Minn. Stat.

§ 325D.44, including the following provisions:

               a.    Representing that its goods and services had characteristics, uses, and benefits

                     that they did not have, in violation of Minn. Stat. § 325D.44(1)(5);

                             CONSOLIDATED CLASS ACTION COMPLAINT
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         b.   Representing that goods and services are of a particular standard or quality

              when they are of another, in violation of Minn. Stat. § 325D.44(1)(7);

         c.   Advertising goods and services with intent not to sell them as advertised, in

              violation of Minn. Stat. § 325D.44(1)(9); and

         d.   Engaging in other conduct which similarly creates a likelihood of

              confusion or misunderstanding, in violation of Minn. Stat. § 325D.44(1)(13).

  233.   BoA’s deceptive practices include:

         a.   Defendant opened bank accounts without the authorization and consent of the

              Minnesota Plaintiff and the Minnesota Subclass Members;

         b.   Defendant failed to safeguard Minnesota Plaintiff’s and the Minnesota

              Subclass Members’ personal information and allowed employees to access

              such information to open unauthorized accounts;

         c.   Defendant failed to implement adequate controls and conduct reasonable

              diligence, such as by verifying customer’s identification and monitoring the

              opening of accounts with no or little activity, to prevent Minnesota Plaintiff

              and the Minnesota Subclass Members from having unauthorized accounts

              opened on their behalf;

         d.   Defendant obtained consumer reports and submitted applications for

              Minnesota Plaintiff and the Minnesota Subclass Members without their

              authorization or consent. This conduct, with little if any utility, is unfair when

              weighed against the harm to Minnesota Plaintiff and the Minnesota Subclass

              Members, including harms in the form of fees charged and impacts to their

              credit reports;

         e.   Defendant’s design and implementation of an employee incentive

              compensation program that set unrealistic quotas of new accounts for BoA

              employees to open, rewarded BoA employees for the sheer number of


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            accounts it opened on behalf of Minnesota Plaintiff and the Minnesota

            Subclass Members, even if those accounts were opened without the

            authorization of Minnesota Plaintiff and the Minnesota Subclass Members,

            and punished BoA employees for failing to hit such quotas. Defendant’s

            incentive program created a high-pressure environment where employees

            were pressured to open unauthorized accounts;

       f.   Defendant failed to correct BoA employees who opened accounts without the

            authorization of Minnesota Plaintiff and the Minnesota Subclass, including

            through the deceptive, unfair conduct described above;

       g.   Defendant failed to notify Minnesota Plaintiff and the Minnesota Subclass

            Members that it opened unauthorized accounts on their behalf but without

            their consent, including through the deceptive, unfair conduct described

            above;

       h.   Defendant charged Minnesota Plaintiff and the Minnesota Subclass Members

            fees associated with the accounts that it opened without the authorization of

            Minnesota Plaintiff and the Minnesota Subclass Members;

       i.   Defendant failed to notify Minnesota Plaintiff and the Minnesota Subclass

            Members that it charged them fees associated with the unauthorized accounts

            the Bank opened on their behalf but without their consent;

       j.   Defendant misrepresented that BoA would comply with its obligations under

            federal law, including with the Fair Credit Reporting Act (15 U.S.C. § 1681)

            and Truth in Lending Act (15 U.S.C. § 1642; 12 C.F.R. § 1026.12(a)), as well

            as the Bank Secrecy Act and anti-money laundering regulations. Despite these

            representations, BoA failed to comply with these laws and it omitted,

            suppressed, and concealed that fact from Minnesota Plaintiff and the

            Minnesota Subclass Members;


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                  k.   Defendant’s deceptive, unfair practices also led to substantial injuries, as

                       described above, that are not outweighed by any countervailing benefits to

                       consumers or competition. Moreover, because Minnesota Plaintiff and the

                       Minnesota Subclass Members could not know of Defendant’s deceptive

                       scheme to open unauthorized accounts and charge customers associated fees,

                       including by obtaining consumer reports and using such reports to submit

                       credit applications without the authorization of Minnesota Plaintiff and the

                       Minnesota Subclass Members, consumers could not have reasonably avoided

                       the harms that Defendant caused;

                  l.   Defendant omitted, suppressed, and concealed the material facts described

                       above to Minnesota Plaintiff and the Minnesota Subclass Members; and

                  m.   Other ways to be discovered and proved at trial.

       234.       BoA’s representations and omissions were material because they were likely to

deceive reasonable consumers about the purpose for obtaining consumer reports, the submission

of applications for unauthorized accounts without the consent of Minnesota Plaintiff and the

Minnesota Subclass Members, the opening of unauthorized accounts without the consent of

Minnesota Plaintiff and the Minnesota Subclass Members, and the charging of fees associated with

unauthorized accounts opened without the consent of Minnesota Plaintiff and the Minnesota

Subclass Members.

       235.       Defendant intended to mislead Minnesota Plaintiff and the Minnesota Subclass

Members and induce them to rely on their misrepresentations and material omissions of fact as

alleged herein.

       236.       Had Defendant disclosed to Minnesota Plaintiff and the Minnesota Subclass

Members that BoA employees had opened unauthorized accounts with the consent of Minnesota

Plaintiff and the Minnesota Subclass Members, Defendant would have been unable to continue

incentivizing its employees to make new sales—which contribute significantly to the Bank’s


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profits—and it would have been forced to close accounts, refund fees en masse, and comply with

the law. Accordingly, Minnesota Plaintiff and the Minnesota Subclass Members acted reasonably

in relying on Defendant’s misrepresentations and material omissions of fact, the truth of which

they could not have discovered.

         237.    Defendant acted intentionally, knowingly, and maliciously to violate the MUDTPA

and recklessly disregarded Minnesota Plaintiffs’ and the Minnesota Subclass Members’ rights.

         238.    As a direct and proximate result of Defendant’s unfair, unlawful, and fraudulent

acts and practices, Minnesota Plaintiff and the Minnesota Subclass Members have suffered and

will continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages as described herein and as will be proved at trial, including damage as a result

of the unauthorized accounts appearing on their credit reports, damage to their credit score from a

credit report being run to open the unauthorized credit card accounts, damages from fees associated

with the unauthorized accounts, lost time and effort spent investigating the unauthorized accounts,

reporting the issues to BoA, trying to make sure they were corrected, and attempting to mitigate

further harm, including harm to potential identity theft, the loss of control over personal identifying

information, and payment for crediting monitoring and lock services.

         239.    Minnesota Plaintiffs and the Minnesota Subclass Members seek all monetary and

non-monetary relief allowed by law, including injunctive relief and reasonable attorneys’ fees and

costs.

XII.            CLAIMS ON BEHALF OF THE NEW JERSEY ACCOUNTS SUBCLASS
                                      COUNT XII
   New Jersey Unfair Trade Practices Act (“NJUTPA”), N.J. Stat. Ann. §§ 56:8-1, et seq.
      On Behalf of the New Jersey Plaintiff and the New Jersey Accounts Subclass
         240.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein, except those applying solely to the Credit Card Class.

         241.    Plaintiff Joseph Barlay (the “New Jersey Plaintiff”) brings this Claim on behalf of

himself and members of the New Jersey Accounts Subclass.


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       242.    BoA is a “person,” as defined by N.J. Stat. Ann. § 56:8-1(d).

       243.    BoA sells “merchandise,” as defined by N.J. Stat. Ann. § 56:8-1(c) & (e).

       244.    The New Jersey Consumer Fraud Act, N.J. Stat. §§ 56:8-1, et seq., prohibits

unconscionable commercial practices, deception, fraud, false pretense, false promise,

misrepresentation, as well as the knowing concealment, suppression, or omission of any material

fact with the intent that others rely on the concealment, omission, or fact, in connection with the

sale or advertisement of any merchandise.

       245.    BoA’s unconscionable and deceptive practices include:

               a.   Defendant opened bank accounts without the authorization and consent of the

                    New Jersey Plaintiff and the New Jersey Subclass Members;

               b.   Defendant failed to safeguard New Jersey Plaintiff’s and the New Jersey

                    Subclass Members’ personal information and allowed employees to access

                    such information to open unauthorized accounts;

               c.   Defendant failed to implement adequate controls and conduct reasonable

                    diligence, such as by verifying customer’s identification and monitoring the

                    opening of accounts with no or little activity, to prevent New Jersey Plaintiff

                    and the New Jersey Subclass Members from having unauthorized accounts

                    opened on their behalf;

               d.   Defendant obtained consumer reports and submitted applications for New

                    Jersey Plaintiff and the New Jersey Subclass Members without their

                    authorization or consent. This conduct, with little if any utility, is unfair when

                    weighed against the harm to New Jersey Plaintiff and the New Jersey Subclass

                    Members, including harms in the form of fees charged and impacts to their

                    credit reports;

               e.   Defendant’s design and implementation of an employee incentive

                    compensation program that set unrealistic quotas of new accounts for BoA


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            employees to open, rewarded BoA employees for the sheer number of

            accounts it opened on behalf of New Jersey Plaintiff and the New Jersey

            Subclass Members, even if those accounts were opened without the

            authorization of New Jersey Plaintiff and the New Jersey Subclass Members,

            and punished BoA employees for failing to hit such quotas. Defendant’s

            incentive program created a high-pressure environment where employees

            were pressured to open unauthorized accounts;

       f.   Defendant failed to correct BoA employees who opened accounts without the

            authorization of New Jersey Plaintiff and the New Jersey Subclass, including

            through the deceptive, unfair conduct described above;

       g.   Defendant failed to notify New Jersey Plaintiff and the New Jersey Subclass

            Members that it opened unauthorized accounts on their behalf but without

            their consent, including through the deceptive, unfair conduct described

            above;

       h.   Defendant charged New Jersey Plaintiff and the New Jersey Subclass

            Members fees associated with the accounts that it opened without the

            authorization of Plaintiffs and the New Jersey Subclass Members;

       i.   Defendant failed to notify New Jersey Plaintiff and the New Jersey Subclass

            Members that it charged them fees associated with the unauthorized accounts

            the Bank opened on their behalf but without their consent;

       j.   Defendant misrepresented that BoA would comply with its obligations under

            federal law, including with the Fair Credit Reporting Act (15 U.S.C. § 1681)

            and Truth in Lending Act (15 U.S.C. § 1642; 12 C.F.R. § 1026.12(a)), as well

            as the Bank Secrecy Act and anti-money laundering regulations. Despite these

            representations, BoA failed to comply with these laws and it omitted,




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                      suppressed, and concealed that fact from New Jersey Plaintiff and the New

                      Jersey Subclass Members;

                 k.   Defendant’s deceptive, unfair practices also led to substantial injuries, as

                      described above, that are not outweighed by any countervailing benefits to

                      consumers or competition. Moreover, because New Jersey Plaintiff and the

                      New Jersey Subclass Members could not know of Defendant’s deceptive

                      scheme to open unauthorized accounts and charge customers associated fees,

                      including by obtaining consumer reports and using such reports to submit

                      credit applications without the authorization of New Jersey Plaintiff and the

                      New Jersey Subclass, consumers could not have reasonably avoided the

                      harms that Defendant caused;

                 l.   Defendant omitted, suppressed, and concealed the material facts described

                      above to New Jersey Plaintiff and the New Jersey Subclass; and

                 m.   Other ways to be discovered and proved at trial.

          246.   BoA’s representations and omissions were material because they were likely to

deceive reasonable consumers about the purpose for obtaining consumer reports, the submission

of applications for unauthorized accounts without the consent of New Jersey Plaintiff and the New

Jersey Subclass, the opening of unauthorized accounts without the consent of New Jersey Plaintiff

and the New Jersey Subclass, and the charging of fees associated with unauthorized accounts

opened without the consent of New Jersey Plaintiff and the New Jersey Subclass.

          247.   Defendant intended to mislead New Jersey Plaintiff and the New Jersey Subclass

and induce them to rely on their misrepresentations and material omissions of fact as alleged

herein.

          248.   Had Defendant disclosed to New Jersey Plaintiff and the New Jersey Subclass that

BoA employees had opened unauthorized accounts with the consent of New Jersey Plaintiff and

the New Jersey Subclass, Defendant would have been unable to continue incentivizing its


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employees to make new sales—which contribute significantly to the Bank’s profits—and it would

have been forced to close accounts, refund fees en masse, and comply with the law. Accordingly,

New Jersey Plaintiff and the New Jersey Subclass Members acted reasonably in relying on

Defendant’s misrepresentations and material omissions of fact, the truth of which they could not

have discovered.

       249.    Defendant acted intentionally, knowingly, and maliciously to violate the NJUTPA,

and recklessly disregarded New Jersey Plaintiff’s and the New Jersey Subclass Members’ rights.

       250.    As a direct and proximate result of Defendant’s unfair, unlawful, and fraudulent

acts and practices, New Jersey Plaintiff and the New Jersey Subclass have suffered and will

continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages as described herein and as will be proved at trial, including damage as a result

of the unauthorized accounts appearing on their credit reports, damage to their credit score from a

credit report being run to open the unauthorized credit card account, damages from fees associated

with the unauthorized accounts, lost time and effort spent investigating the unauthorized account,

reporting the issue to BoA, making sure it was corrected, and attempting to mitigate further harm,

including harm to potential identity theft, the loss of control over personal identifying information,

and payment for crediting monitoring and lock services.

       251.    New Jersey Plaintiff and the New Jersey Subclass seek all monetary and non-

monetary relief allowed by law, including restitution of all profits stemming from Defendant’s

unfair, unlawful, and fraudulent business practices; declaratory relief; injunctive relief; reasonable

attorneys’ fees and costs; and other appropriate equitable relief.

  XIII.        CLAIMS ON BEHALF OF THE NEVADA ACCOUNTS SUBCLASS
                                     COUNT XIII
   Nevada Deceptive Trade Practices Act (“NDTPA”), Nev. Rev. Stat. Ann. §§ 598.0903,
                                         et seq.
           On Behalf of Nevada Plaintiffs and the Nevada Accounts Subclass
       252.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein, except those applying solely to the Credit Card Class.

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       253.   Plaintiff Octavio Ayala and Marvel Pamilton (the “Nevada Plaintiffs”) bring this

Claim on behalf of themselves and members of the Nevada Accounts Subclass.

       254.   BoA advertised, offered, or sold goods or services in Nevada and engaged in trade

or commerce directly or indirectly affecting the people of Nevada.

       255.   BoA engaged in deceptive trade practices in the course of its business or

occupation, in violation of Nev. Rev. Stat. §§ 598.0915 and 598.0923, including:

              a.    Knowingly making a false representation as to the characteristics, uses, and

                    benefits of goods or services for sale in violation of Nev. Rev. Stat.

                    § 598.0915(5);

              b.    Representing that goods or services for sale are of a particular standard,

                    quality, or grade when BoA knew or should have known that they are of

                    another standard, quality, or grade in violation of Nev. Rev. Stat.

                    § 598.0915(7);

              c.    Advertising goods or services with intent not to sell them as advertised in

                    violation of Nev. Rev. Stat § 598.0915(9);

              d.    Failing to disclose a material fact in connection with the sale of goods or

                    services in violation of Nev. Rev. Stat. § 598.0923(A)(2); and

              e.    Violating state and federal statutes or regulations relating to the sale of

                    goods or services in violation of Nev. Rev. Stat. § 598.0923(A)(3).

       256.   BoA’s deceptive trade practices in the course of its business or occupation include:

              a.    Defendant opened bank accounts without the authorization and consent of the

                    Nevada Plaintiffs and the Nevada Subclass Members;

              b.    Defendant failed to safeguard Nevada Plaintiffs’ and the Nevada Subclass

                    Members’ personal information and allowed employees to access such

                    information to open unauthorized accounts;




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       c.   Defendant failed to implement adequate controls and conduct reasonable

            diligence, such as by verifying customer’s identification and monitoring the

            opening of accounts with no or little activity, to prevent Nevada Plaintiffs and

            the Nevada Subclass Members from having unauthorized accounts opened on

            their behalf;

       d.   Defendant obtained consumer reports and submitted applications for Nevada

            Plaintiffs and the Nevada Subclass Members without their authorization or

            consent. This conduct, with little if any utility, is unfair when weighed against

            the harm to Nevada Plaintiffs and the Nevada Subclass Members, including

            harms in the form of fees charged and impacts to their credit reports;

       e.   Defendant’s design and implementation of an employee incentive

            compensation program that set unrealistic quotas of new accounts for BoA

            employees to open, rewarded BoA employees for the sheer number of

            accounts it opened on behalf of Nevada Plaintiffs and the Nevada Subclass

            Members, even if those accounts were opened without the authorization of

            Nevada Plaintiffs and the Nevada Subclass Members, and punished BoA

            employees for failing to hit such quotas. Defendant’s incentive program

            created a high-pressure environment where employees were pressured to open

            unauthorized accounts;

       f.   Defendant failed to correct BoA employees who opened accounts without the

            authorization of Nevada Plaintiffs and the Nevada Subclass Members,

            including through the deceptive, unfair conduct described above;

       g.   Defendant failed to notify Nevada Plaintiffs and the Nevada Subclass

            Members that it opened unauthorized accounts on their behalf but without

            their consent, including through the deceptive, unfair conduct described

            above;


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       h.   Defendant charged Nevada Plaintiffs and the Nevada Subclass Members fees

            associated with the accounts that it opened without the authorization of

            Nevada Plaintiffs and the Nevada Subclass Members;

       i.   Defendant failed to notify Nevada Plaintiffs and the Nevada Subclass

            Members that it charged them fees associated with the unauthorized accounts

            the Bank opened on their behalf but without their consent;

       j.   Defendant misrepresented that BoA would comply with its obligations under

            federal law, including with the Fair Credit Reporting Act (15 U.S.C. § 1681)

            and Truth in Lending Act (15 U.S.C. § 1642; 12 C.F.R. § 1026.12(a)), as well

            as the Bank Secrecy Act and anti-money laundering regulations. Despite these

            representations, BoA failed to comply with these laws and it omitted,

            suppressed, and concealed that fact from Nevada Plaintiffs and the Nevada

            Subclass Members;

       k.   Defendant’s deceptive, unfair practices also led to substantial injuries, as

            described above, that are not outweighed by any countervailing benefits to

            consumers or competition. Moreover, because Nevada Plaintiffs and the

            Nevada Subclass Members could not know of Defendant’s deceptive scheme

            to open unauthorized accounts and charge customers associated fees,

            including by obtaining consumer reports and using such reports to submit

            credit applications without the authorization of Nevada Plaintiffs and the

            Nevada Subclass Members, consumers could not have reasonably avoided the

            harms that Defendant caused;

       l.   Defendant omitted, suppressed, and concealed the material facts described

            above to Nevada Plaintiffs and the Nevada Subclass Members; and

       m.   Other ways to be discovered and proved at trial.




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       257.       BoA’s representations and omissions were material because they were likely to

deceive reasonable consumers about the purpose for obtaining consumer reports, the submission

of applications for unauthorized accounts without the consent of Nevada Plaintiffs and the Nevada

Subclass Members, the opening of unauthorized accounts without the consent of Nevada Plaintiffs

and the Nevada Subclass Members, and the charging of fees associated with unauthorized accounts

opened without the consent of Nevada Plaintiffs and the Nevada Subclass Members.

       258.       Defendant intended to mislead Nevada Plaintiffs and the Nevada Subclass

Members and induce them to rely on their misrepresentations and material omissions of fact as

alleged herein.

       259.       Had Defendant disclosed to Nevada Plaintiffs and the Nevada Subclass Members

that BoA employees had opened unauthorized accounts with the consent of the Nevada Plaintiffs

and the Nevada Subclass Members, Defendant would have been unable to continue incentivizing

its employees to make new sales—which contribute significantly to the Bank’s profits—and it

would have been forced to close accounts, refund fees en masse, and comply with the law.

Accordingly, Nevada Plaintiffs and the Nevada Subclass Members acted reasonably in relying on

Defendant’s misrepresentations and material omissions of fact, the truth of which they could not

have discovered.

       260.       Defendant acted intentionally, knowingly, and maliciously to violate the NDTPA,

and recklessly disregarded Nevada Plaintiffs’ and the Nevada Subclass Members’ rights.

       261.       As a direct and proximate result of Defendant’s unfair, unlawful, and fraudulent

acts and practices, Nevada Plaintiffs and the Nevada Subclass Members have suffered and will

continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages as described herein and as will be proved at trial, including damage as a result

of the unauthorized accounts appearing on their credit reports, damage to their credit score from a

credit report being run to open the unauthorized credit card account, damages from fees associated

with the unauthorized accounts, lost time and effort spent investigating the unauthorized account,


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reporting the issue to BoA, making sure it was corrected, and attempting to mitigate further harm,

including harm to potential identity theft, the loss of control over personal identifying information,

and payment for crediting monitoring and lock services.

        886.    Nevada Plaintiffs and the Nevada Subclass Members seek all monetary and non-

 monetary relief allowed by law, including damages, restitution, punitive damages, and

 attorneys’ fees and costs.

                              XIV.       PRAYER FOR RELIEF

       262.    WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated,

requests that the Court enter judgment in his favor and against Defendant, as follows:

               a)    For an order certifying the Classes and, under Federal Rules of Civil
                     Procedure 23(b)(2) and 23(b)(3), appointing Plaintiffs as Class
                     Representatives and appointing the lawyers and law firms representing
                     Plaintiffs as counsel for the Class;

               b)    Declaring BoA’s actions to be false, misleading, and/or deceptive;

               c)    Permanently enjoining BoA from performing further unfair and unlawful acts
                     as alleged herein;

               d)    For all recoverable compensatory, statutory, and other damages sustained by
                     Plaintiffs and the Class, including disgorgement, unjust enrichment, and all
                     other relief allowed under applicable law;

               e)    Awarding Plaintiffs and the Class appropriate relief, including actual and
                     statutory damages, restitution, disgorgement, and punitive damages;

               f)    Awarding equitable, injunctive, and declaratory relief as may be appropriate;

               g)    Awarding all costs, including experts’ fees and attorneys’ fees, as well as the
                     costs of prosecuting this action;

               h)    Awarding pre-judgment and post-judgment interest as prescribed by law; and

               i)    Granting such other and further relief as the Court may deem just and proper.




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                          XV.          DEMAND FOR JURY TRIAL

        263.    Plaintiffs, on behalf of himself and all others similarly situated, hereby demands a

trial by jury on all the issues so triable.




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